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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 LAVVAN, INC.,
                 Plaintiff,
                                                      No. ____________
        v.
 AMYRIS, INC.,
                                                      JURY TRIAL DEMANDED
                 Defendant.



                                           COMPLAINT

LAVVAN, Inc. (“Lavvan”), brings this action against Amyris, Inc. (“Amyris”).

I.   INTRODUCTION

                    “Not one partner has ever stood with us and said, We’re
                    only going to do what the contract says. . . . if that ever
                    happened, we would be out of business today . . . .”
                                                        – Amyris CEO John Melo

       1.       This case seeks to remedy the predictable consequences that stem from a business

partner’s view that it need not concern itself with the terms of the agreement it entered, and from

that partner’s deliberate decision to misappropriate valuable intellectual property entrusted to it

under that agreement for its own gain.

       2.       In 2019, Amyris addressed its short-term woes by publicly announcing that it

would be entering a new industry by forming a promising exclusive partnership with Lavvan and

securing from Lavvan a much-needed multi-million-dollar cash influx. Amyris then quickly

proceeded to denounce the deal’s terms privately and to try to change and frustrate—and

ultimately to breach—those terms, all at the expense of Lavvan and its investors. In fact, Amyris

has rejected the agreement’s most fundamental terms so thoroughly that Amyris evidently never

meant to honor the contract at all. In the course of repudiating the agreement, Amyris


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misappropriated Lavvan’s trade secrets and used intellectual property licensed exclusively to

Lavvan to compete against, rather than collaborate with, its supposed partner.

        3.       Amyris apparently saw the contract as a short-term fix for its deep and dire

financial troubles—as Amyris’s CEO would come to describe it, the deal was a decision for

Amyris to ‘cut off its arm to save its body.’ The news of Amyris’s potentially lucrative

partnership with Lavvan, in a rapidly growing and extremely attractive industry (biosynthetic

cannabinoids), would stave off investors’ worries about the company’s hundreds of millions of

dollars in losses, crushing debt load, and languishing stock price. But to get the deal it wanted to

announce, Amyris had to agree to give Lavvan exclusive rights to valuable intellectual property,

as well as control over decisions about how and when the partnership would commercialize its

collaborative research and development.

        4.       As Lavvan came to learn, ceding such control threatens to expose the rotten core

of Amyris’s business, which has long depended on accounting schemes designed to hide massive

manufacturing losses Amyris quietly absorbs in the development of its products. These schemes

allow Amyris to portray itself as a leading player in the field of biotechnology, even while its

financials tell a very different story of a company that cannot seem to turn a profit.

        5.       Accordingly, after having secured the benefits of Lavvan’s upfront $10 million

payment and the positive stock-market effects of announcing its partnership, Amyris now hopes

to ignore its contractual obligations, seize for itself Lavvan’s rights, and usurp for itself all of the

benefits of the partnership—in flagrant violation of Lavvan’s intellectual property rights and the

Parties’ operative agreement.

        6.       All the while, Amyris continues to feed the market—and its auditors and

bankers—false and misleading information about the status of the partnership, its obligations and




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limitations under the partnership, and the scope of the Parties’ intellectual property rights,

desperate to pump its stock price by maintaining a false appearance of progress. Amyris’s CEO

has admitted that his habit of over-promising is “like an addiction” and “something he could not

control.”

         7.       Amyris’s flagrant violations of the fundamental terms of its agreement now

extend to the infringement of patents over which Lavvan holds exclusive licenses, as well as the

appropriation of Lavvan’s trade secrets. Amyris’s conduct has left Lavvan with no choice but to

seek this Court’s intervention to remedy the significant damage Lavvan and its investors have

suffered.

II.     CASE OVERVIEW

         8.       In March 2019, Lavvan and Amyris entered into a Research, Collaboration and

License Agreement (with its subsequent written amendments as of May 20, 2019, and March 11,

2020, the “RCL Agreement”) to biosynthetically develop rare chemicals found in cannabis

plants, known as cannabinoids, for commercial use.1 The RCL Agreement provided Amyris with

the ability to earn $300 million in milestone payments over several years as well as a profit-

sharing arrangement based on Lavvan’s commercial sales of these biosynthetic cannabinoids.

The RCL Agreement provided the framework to leverage Amyris’s intellectual property and

infrastructure to position Lavvan as a dominant first-to-market and lowest-cost producer of

biosynthetic cannabinoids in an anticipated multi-billion dollar industry.

         9.       The division of labor under the RCL Agreement was straightforward: Amyris

would develop for Lavvan yeast strains specifically engineered to produce a series of

cannabinoids through fermentation, and Lavvan would have the exclusive right to then use those



1
    A true and correct copy of the RCL Agreement is appended to this Complaint as Exhibit A.

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yeast strains to manufacture and commercialize the cannabinoids, as well as an exclusive license

to all of Amyris’s intellectual property reasonably necessary to develop or produce those

cannabinoids. In exchange, Lavvan agreed to pay Amyris hundreds of millions of dollars in

milestone and profit-sharing payments, in addition to the $10 million initial influx of cash

Lavvan paid Amyris at the outset of their partnership. Specifically, Lavvan would pay Amyris

incremental “milestone payments” as Amyris reached defined developmental goals that bring the

cannabinoids closer to economical commercialization, as well as royalty payments based on

Lavvan’s commercial sales of those cannabinoids.2

       10.     Lavvan and Amyris (the “Parties”) were thus embarking on a venture that would

disrupt the current cannabis industry, and they were poised to be the frontrunning market leaders

to fill the rapidly developing and high demand for these biosynthetic cannabinoids in a variety of

markets, including health, beauty and cosmetics, food and beverage, and pharmaceuticals.

Amyris announced the collaboration in February 2019 to great fanfare—and a 70% jump in its

stock price, adding hundreds of millions of dollars to its market capitalization. This introductory

announcement would prove to be the high point of the collaboration.

       11.     Lavvan has more than held up its end of the deal. After signing the RCL

Agreement, Lavvan provided Amyris an upfront payment of $10 million. Lavvan also identified

an array of prospective applications, markets, and customers, including developmental targets for

profitable commercialization of cannabinoids based on market conditions, and proceeded to

assemble a world-class team, including a group that had just built a $2.5 billion cannabis

business that was acquired in the largest deal of its kind in the industry’s history. And as Amyris



2
 For ease of exposition, references in this Complaint to “delivering CBD” or “delivering
cannabinoids” refer to delivering the strain, production process, and associated IP needed to
produce that cannabinoid (unless the context indicates otherwise).

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reported (falsely, Lavvan later learned) that it was on schedule for its contracted developmental

milestones, Lavvan conducted an exhaustive search throughout the United States and Canada for

an appropriate fermentation facility to prepare to produce the biosynthetic cannabinoids from the

yeast strains Amyris was supposed to deliver, and Lavvan ultimately spent hundreds of

thousands of dollars contracting with a third-party manufacturer (the “Selected Manufacturer”)

for the initial engineering work in advance of full-scale manufacturing.3

       12.     Amyris had other plans, however, and did not come close to holding up its end of

the deal. It has yet to reach even the first contractual developmental milestone in the RCL

Agreement, despite its repeated false and misleading statements to Lavvan and to the public

markets that Amyris was close to achieving some of those milestones many months ago. Among

those unfulfilled promises, in December 2019, Amyris told Lavvan it would meet the first

milestone by February 2020 “unless the lab burns down.” Amyris’s lab is still standing, yet half a

year after that promised date, Amyris still has not met the milestone. As a practical matter,

Amyris has quit complying with the RCL Agreement and gone in a very different direction.

       13.     In fact, just months after the Parties had entered into the RCL Agreement, Amyris

CEO John Melo told Lavvan that Amyris had “seller’s remorse.” Historically, Amyris had

entered into partnerships in which it retained control over decisions about manufacturing and

commercialization. Lavvan deliberately negotiated a very different deal, and secured the

exclusive license to the intellectual property necessary to manufacture and commercialize the

relevant products, and control over those processes, as reflected in the RCL Agreement.




3
  Lavvan and the Selected Manufacturer entered into a Non-Disclosure Agreement under which
the parties’ relationship is confidential. To comply with that agreement, this Complaint uses the
term “Selected Manufacturer” to identify the third-party manufacturer Lavvan selected.

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       14.     Without control over manufacturing and commercialization, Amyris would be

unable to implement its favored financial engineering tool: rushing an unprofitable product to

market when it felt it needed to boost its stock price with a public announcement, and obscuring

the unprofitability of the product through creative accounting such as reallocating manufacturing

costs to hide uneconomical production costs. As Amyris remarkably admitted to Lavvan in

recent months, Amyris routinely launches unprofitable products—attempting to benefit from an

anticipated boost to its stock price and saving the question of how to manufacture those products

at a rational economic price for another day.

       15.     Amyris agreed to cede control over manufacturing and commercialization

because, when it negotiated the RCL Agreement, it desperately needed the cash influx Lavvan

offered in the form of an upfront $10 million payment, the anticipated cash flows from Lavvan’s

milestone payments, and the stock-price boost from announcing its entry into the hot, new

biosynthetic cannabinoid space. To obtain those benefits, Amyris agreed to Lavvan’s proposed

partnership, under which Amyris would leverage its development expertise to create a

technology package for Lavvan, and Lavvan would control the implementation of technology via

manufacturing and commercialization of the cannabinoids. Indeed, in a meeting with Lavvan

CEO Neil Closner, Amyris CEO Melo likened Amyris’s decision to enter the RCL Agreement

and partner with Lavvan on biosynthetic cannabinoids to ‘cutting off the arm to save the body’:

Amyris needed to agree to create biosynthetic cannabinoids for Lavvan and cede control over

commercialization and manufacturing to Lavvan in order to get Lavvan’s cash and partnership to

“save the body” of the company—as Amyris wanted the press release about its partnership with

Lavvan and entry into this space to pump its stock price and facilitate much-needed efforts to

raise capital. This behavior is emblematic of Amyris’s apparent corporate ethos under the




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“leadership” of CEO John Melo—do whatever it takes to boost the stock price today, even if that

means trouble down the road. Indeed, this is a sufficiently regular behavioral pattern for Amyris

that Melo actually admitted to Lavvan CEO Neil Closner in a December 2019 meeting that Melo

was “exhausted” from constantly having to do what it takes to keep his company’s stock price

afloat.

          16.   Lavvan demanded control over manufacturing in order to promise its expected

large-scale corporate customers the stable supply chain necessary for mass production. Lavvan

could not entrust Amyris with manufacturing for several reasons, including because of Amyris’s

precarious financial situation. Moreover, Amyris did not have familiarity with the cannabis

industry. Lavvan, in contrast, had significant familiarity with that field, including with respect to

commercialization opportunities. By entering into the RCL Agreement, Lavvan sought to exploit

those significant opportunities it had identified.

          17.   When it entered into the RCL Agreement, in fact, Amyris was teetering on the

edge of insolvency, in part a result of its apparent history of pushing out unprofitable products.

Amyris’s 2018 10-K (filed nearly six months late in October 2019) admitted that the company

had a “material weakness” in its “internal control over financial reporting,” causing repeated

delays and restatements. In fact, for at least seven consecutive years, Amyris was unable to

submit its 10-K on time, subjecting it to, among other things, NASDAQ’s delisting procedures.

More critically, Amyris acknowledged: “We have incurred losses to date, anticipate continuing

to incur losses in the future, and may never achieve or sustain profitability.” As of December 31,

2018, Amyris “had a negative working capital of $119.5 million and accumulated deficit of

$1.5 billion.” Amyris admitted the need for cash, because its cash and cash equivalents would

“not be sufficient to fund expected future negative cash flows” beyond September 30, 2020.




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Amyris had lost over $200 million in 2018, and in 2019, while generating over $150 million in

revenue, it ended up incurring losses of over $240 million.

       18.     Given the likelihood that handing Lavvan control over manufacturing and

commercialization would expose Amyris’s flawed business model, Amyris likely never intended

to honor the RCL Agreement. Once Amyris was flush with Lavvan’s investment and enjoying

the momentum from announcing to the market its entry into the trendy cannabinoids space

through its partnership with Lavvan, Amyris sought to change the deal. Amyris CEO Melo and

other Amyris executives began clamoring for control of manufacturing, insisting on

fundamentally altering the agreed-upon economic arrangement and even demanding advance

payment of unearned milestone amounts. At the same time, Amyris pressured Lavvan to

cooperate in its efforts (i) to persuade Amyris’s auditors to aggressively recognize future revenue

and (ii) to misstate to Amyris’s bankers (who would go on to announce a $200 million equity

financing a few weeks later) the activity levels of certain of the development programs. When

Lavvan would not capitulate to Amyris’s demands, Amyris retaliated by morphing from

Lavvan’s partner to its competitor. In fact, Amyris COO Eduardo Alvarez told Lavvan’s

president Etan Bendheim that Amyris has no qualms about ripping up its agreements if it

determines that they no longer ‘work’ for Amyris.

       19.     Amyris CEO Melo began by threatening that—notwithstanding the Parties’ clear

agreement, which was fundamental to their partnership, that Amyris would not be permitted to

commercialize cannabinoids on its own—Amyris would take the position that it could

commercialize cannabinoids without Lavvan under the RCL Agreement. That is, despite the

contract’s express terms to the contrary, Amyris contended that it could reap all the benefits of

having partnered with Lavvan—including not only Lavvan’s cash payment but also the expertise




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and insight Lavvan had provided about the market and regulatory environment—and then

abandon its contractual commitments to Lavvan, and steal for itself the yeast strains and

molecules Amyris was developing for Lavvan under the RCL Agreement, while leveraging the

funding provided to it by Lavvan.

       20.     Soon enough, Amyris began following through on those threats. Amyris sent

product samples to third parties and committed both privately and publicly to manufacturing

cannabinoids in 2020. This misconduct is antithetical to the entire purpose of the relationship

embodied in the RCL Agreement, in which Amyris promised that it “

                            ” the relevant intellectual property “

             ,” other than for Lavvan. Despite Lavvan’s requests, Amyris has not provided any

valid explanation or justification for how such conduct complies with the RCL Agreement.

       21.     In addition to eroding irrevocably Lavvan’s trust in Amyris as a partner, Amyris’s

actions have fatally undermined Lavvan’s ability to get in front of the market and demonstrably

hurt Lavvan’s reputation. Amyris’s public comments about its intent to produce without Lavvan

because of non-existent carveouts have harmed Lavvan’s credibility with investors, prospective

customers, and the public at large. In private, to investors, Lavvan had obviously been promoting

the exclusivity of the RCL Agreement. In public, Amyris is capturing all the goodwill associated

with working on the cutting-edge of the field without giving Lavvan its due. And as a practical

matter, Amyris’s slow development of the cannabinoids has eroded the head start that Lavvan

hoped to leverage by partnering with Amyris.

       22.     Seeking to justify its retaliatory misconduct, Amyris initiated a campaign of

pretextual concerns about Lavvan’s ability to make future milestone payments. Lavvan has never

missed a milestone payment or suggested it would be unable to make one. In fact, during




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contract negotiations, Amyris asked Lavvan to disclose its funding sources, and Lavvan declined

and explained that like a typical newly formed company, Lavvan was poised to raise additional

funding as the project progressed and milestones were hit. In response, Amyris did not insist on

any such disclosures, and the final RCL Agreement does not include any specific representations

or warranties about Lavvan’s finances or ability to pay beyond providing proof of its ability to

make the initial $10 million payment. Amyris also publicly touted the hundreds of millions of

dollars it expected to receive from Lavvan, which it characterized as its “well-capitalized

partner.” In laying the groundwork for its own non-performance, breach, and misappropriation of

Lavvan’s intellectual property, however, Amyris suddenly purported to be concerned about

Lavvan’s ability to make future milestone payments (notwithstanding that Amyris never

achieved any milestones under the RCL Agreement). This was pure misdirection.

       23.     Notwithstanding this turmoil, Amyris has studiously avoided making public

statements exposing the extent of troubles in its collaboration with Lavvan. The reality, however,

is that Amyris’s tactics have, predictably, destroyed the Parties’ working relationship. Lavvan is

not receiving the benefits of its investment and is losing out on its ability to enter this market as a

leader. Meanwhile, Amyris has been trying to extract additional money from Lavvan while using

Lavvan’s cash and industry expertise to independently commercialize cannabinoids

manufactured from the cannabinoid-producing yeast strains it made for Lavvan, violating the

RCL Agreement and Lavvan’s intellectual property rights. Amyris has been using its internal

cannabinoid dedicated resources (paid for by Lavvan’s $10 million) to pursue its own

competitive entry into the market while falsely claiming that it continues to work toward the

objectives laid out in the RCL Agreement.




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        24.     Lavvan has attempted to resolve these differences. It has raised its serious

concerns about Amyris’s conduct through emails, calls, and formal letters. In a letter dated April

22, 2020, after many failed attempts to remedy Amyris’s misconduct, Lavvan explained that

Amyris’s actions would require Lavvan to seek termination of the RCL Agreement. But in its

response, Amyris simply ignored Lavvan’s serious grievances. Indeed, in the face of allegations

that it has materially breached the RCL Agreement, Amyris has continued to reject the

fundamental terms of that agreement: that Amyris develops cannabinoid-producing yeast strains

for Lavvan, so that Lavvan can then manufacture and commercialize biosynthetic cannabinoids.

        25.     On May 11, 2020, Lavvan notified Amyris of its intent to terminate the RCL

Agreement due to Amyris’s repeated material breaches.

III. PARTIES

        26.     Plaintiff, Lavvan, is a Delaware corporation with its principal place of business in

New York, New York, and offices in Toronto, Ontario. Incorporated in 2019, Lavvan was

formed to commercialize high-quality cannabinoid ingredients for a range of industries,

including health, beauty and cosmetics, food and beverage, and pharmaceuticals.

        27.     Defendant, Amyris, is a Delaware corporation with its principal place of business

in Emeryville, California. Amyris is a publicly traded biotechnology company that produces,

among other things, ingredients for cosmetics, flavors, and fragrances.

IV. JURISDICTION AND VENUE

        28.     This Court has subject matter jurisdiction under 28 U.S.C. §§ 1331 and 1338.

        29.     Pursuant to 28 U.S.C. § 1391, venue is proper in this District because a substantial

part of the events or omissions giving rise to Lavvan’s claims occurred, and a substantial part of

property that is the subject of this action is situated, in this District. Moreover, pursuant to




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Section 16 of the RCL Agreement—which provides that “[a]ny dispute arising out of this

Agreement shall be submitted exclusively to any state or Federal court located in New York

County, New York”—Amyris has agreed to litigate in this District. Thus, Amyris has waived the

application of 28 U.S.C. § 1400(b).

        30.     The RCL Agreement also has a dispute resolution clause that requires all IP-

related disputes to be litigated in court. Section 7.2.1 provides: “In the event that a dispute arises

with respect to the scope, ownership, validity, enforceability, revocation or infringement of any

Intellectual Property, and such dispute cannot be resolved by the management of both Parties in

accordance with Section 3.2.4, unless otherwise agreed by the Parties in writing, such dispute

will not be submitted to arbitration and either Party may initiate litigation solely in a court or

other tribunal of competent jurisdiction in the country of issuance, registration, application or

other protection, as applicable, of the item of Intellectual Property that is the subject of the

dispute.”4

        31.     This Court has personal jurisdiction over Amyris because, as noted above, Amyris

has agreed to litigate in this District.

V.    FACTUAL ALLEGATIONS

     A. Cannabinoid Production

        32.     Cannabinoids are chemicals found in cannabis plants. There are over 100 known

cannabinoids. The two most commercialized cannabinoids today are THC

(tetrahydrocannabinol), which produces a psychoactive effect, and CBD (cannabidiol), which

has no intoxicating elements and is rapidly growing in popularity. THC and CBD are together


4
 In contrast, the Parties agreed that contract-related disputes “will be finally settled under the
Rules of Arbitration of the International Chamber of Commerce (the ‘ICC Rules’)” under
Section 7.2. Accordingly, on August 22, 2020, Lavvan commenced an arbitration against Amyris
asserting the contract and related claims that are subject to that provision.

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known as “major” cannabinoids. Cannabis plants also contain numerous other cannabinoids,

called “minor” cannabinoids. Due to the low levels of certain minor cannabinoids in the cannabis

plant, production of these rarer, minor cannabinoids through traditional cultivation can be

extremely costly or even completely uneconomic.

       33.     In recent years, demand for cannabinoids has skyrocketed. Several states, and

even the federal government with the passage of the Improvement Act of 2018, Public Law

No. 115-334, 132 Stat 4490 2018 (the “Farm Bill”), have decriminalized and legitimized

cannabis cultivation, typically by distinguishing between “marijuana” and “hemp.” Companies

are still researching the many prospective applications of and uses for cannabis crops and the

cannabinoids found in those crops.

       34.     The traditional way to produce cannabinoids is to grow cannabis plants, harvest

them, and extract the compounds from the plants. Several companies are engaged in this work

across the country. That approach, however, carries many risks. For one, a hemp crop grown to

produce CBD that has too much THC may be considered marijuana in certain jurisdictions, and

not harvestable. In addition, real-world farming conditions create impediments to commercial

scalability. Difficulties ensuring crop consistency, purity, and cycle time pose significant

challenges to creating a dependable supply chain to service large product markets such as health,

beauty and cosmetics, food and beverage, and pharmaceuticals. Moreover, traditional cannabis-

plant cultivation does not yield the rarer minor cannabinoids on a sufficiently large scale or

economically viable basis.

       35.     If a company could skip plant cultivation and the subsequent extraction process

entirely, however, and instead produce cannabinoids in a lab at defined, precise purity levels and

with predictable consistency, reliability, repeatability, and at a fraction of the cycle time, such




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biosynthetic cannabinoids could help meet existing demand and usher in significant additional

future domestic and international demand. This was precisely the plan Lavvan conceived when it

approached Amyris to discuss a potential venture, and precisely what Lavvan sought to do by

entering into the RCL Agreement.

       36.     Many potential large-scale purchasers of cannabinoids—for example,

pharmaceutical, cosmetic, food, or beverage companies—need cannabinoids that are consistent

in quality and available at sufficiently large scale from a reliable supply chain. Biosynthetic

cannabinoids can uniquely meet those criteria, ushering in vast new commercial possibilities for

large-scale corporate customers. Large, traditional companies incorporating cannabinoids into

new and existing products would represent a transformational shift in the cannabis industry. Such

companies bring unmatched expertise and resources in the areas of product development,

branding, distribution, and marketing, thus enabling them to immediately become major forces in

the growing cannabinoid market as they launch products that include cannabinoids. Lavvan has

had productive meetings with multiple Fortune 500 companies that have already begun

developing products with cannabinoids and/or expressed a strong desire to incorporate both

major and minor cannabinoids into their products, and are interested in biosynthetically produced

cannabinoids because of their product quality, reliability, and economics at scale. Indeed, Lavvan

has a number of pending sample requests from these industry leaders that it has been unable to

fulfill because Amyris mispresented its timing and capabilities and could not deliver the samples

by Q1 2020 as required.

       37.     The demand for cannabinoids is significant and expected to grow. CBD, one of

the only cannabinoids harvestable at scale from hemp plants, has already achieved widespread

use, including to treat neurological issues and pain. Other cannabinoids (such as CBG, CBC, and




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CBN) may provide additional benefits that cause them to become as popular or even more

popular than CBD. Because minor cannabinoids have not been commercially available before

(again, because they exist in such low concentration levels in nature), researchers are only now

beginning to understand their full potential. For example, certain minor cannabinoids have

antimicrobial uses; others appear to be promising treatments for acne. Each of those uses, by

itself, would be multi-billion-dollar markets.

       38.     Considering this potential, analysts have estimated that the global market for

cannabinoid biosynthesis will increase from $7.5 billion in 2025 to over $80 billion by 2040,

with an estimated present value of approximately $30 billion. The first company to

commercialize biosynthetic cannabinoids at scale has the opportunity to capture this lucrative

market and to make a lasting impression with customers as a market-leading producer of

innovative and safe products with significant health benefits.

       39.     Lavvan saw this opportunity and identified Amyris as a potential collaborator

with the technology to produce cannabinoids that could be commercialized for a wide variety of

uses. Amyris is a biotechnology company that uses yeast fermentation to produce certain

molecules. At a high level, the fermentation process is similar to brewing beer. But Amyris’s

core expertise is in genetically modifying yeast strains so that instead of beer, they produce

specific target compounds through fermentation. Once Amyris has developed a strain of yeast

that is sufficiently effective at producing the target molecule, the strains and related production

process can be deployed in large fermentation tanks (again, not dissimilar from beer tanks), and

that fermentation process produces the molecules.

       40.     Amyris is not the only company in this space. For example, Ginkgo Bioworks

(“Gingko”), a bioengineering competitor to Amyris, has partnered with Cronos Group




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(“Cronos”) to produce cannabinoids using fermentation. In this partnership Gingko plays a

similar role to Amyris and Cronos plays a similar role to Lavvan. Investment-banking equity-

research analysts at Raymond James have recently confirmed the estimated value of that

partnership to Cronos to be approximately $1.5 billion, given the anticipated market size and

Cronos’ expected 5% share of that market.

       41.     By beating Ginkgo and Cronos to market, Lavvan could secure an even higher

market share—and an even higher value. For example, research from McKinsey & Company

indicates that, in the pharmaceutical sector, the first firm to market obtains, in the long-run, a 6%

market-share advantage over later entrants.5 If Lavvan’s market share exceeded Cronos Group’s

by six percentage points, then the analysts’ estimates imply that Lavvan’s market value would

exceed $3 billion.

   B. Lavvan Reaches Out to Amyris

       42.     In late 2018, members of Lavvan’s founding team initiated discussions with

Amyris about a collaboration to develop and commercialize cannabinoids. Lavvan was familiar

with fermentation-based production of molecules and had the vision of using that process to

develop cannabinoids. Lavvan wanted to be the first to commercialize such cannabinoids.

       43.     Amyris was a natural choice as a collaborator. Amyris was known as a long-time

industry leader in developing unique yeast strains and fermenting molecules at a commercial

scale and had fitting infrastructure: Amyris had spent $1 billion developing a platform that

Lavvan believed it could leverage to develop cannabinoids. Amyris had over 250 patents in

fermentation and related technologies, with more than 500 others in development, and an

unparalleled “strain library”—an extensive library of information regarding different yeast


       5
         Available at https://www.mckinsey.com/industries/pharmaceuticals-and-medical-
products/our-insights/pharmas-first-to-market-advantage#.

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strains it can use to develop new molecules faster. Lavvan believed that these and other features

of Amyris’s development platform gave it an important head start in the development process

and an ability to continue work at a significantly faster pace than its competitors.

       44.     Despite its scale and unique technology, Amyris had not pursued cannabinoid

production prior to its involvement with Lavvan. This was likely due in part to Amyris’s lack of

familiarity with the cannabis industry and in part to a cloudy regulatory environment that became

clearer and more permissive after the passage of the Farm Bill in late 2018. The Farm Bill

changed the definition of illegal marijuana and legalized production of hemp and hemp-derived

products such as CBD.

       45.     Although Amyris lacked experience with cannabinoids, Lavvan saw strong

benefits to the collaboration it had envisioned and proposed. Lavvan believed that Amyris’s

experience and technological head start would enable Lavvan to bring the first biosynthetic

cannabinoids to market at scale and reap significant profits. Fermentation-based production of

cannabinoids involves a chain of metabolic steps. First, raw inputs are converted into a series of

intermediate molecules. Next, the intermediate molecules are further converted into the targeted

cannabinoid. In connection with previous projects, Amyris had developed advanced technology

to produce with exceptional efficiency certain intermediate molecules that are also critical in the

biosynthetic production of cannabinoids. By way of analogy, Amyris’s advantage was akin to it

having modern industrial techniques to produce flour while the rest of the world still used hand

threshing techniques.

       46.     Lavvan further believed Amyris had the resources to develop the yeast strains that

would yield biosynthetic cannabinoids at a market-leading scale, cost, pace, purity, and

consistency. In contrast, competitors seeking to enter this space would be hard-pressed to beat




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Lavvan to market, given the head start Amyris’s existing infrastructure, capabilities, and

experience provided. Competitors would face the added challenge of developing biosynthetic

cannabinoids using yeast-based fermentation without infringing on Amyris’s numerous patents.

       47.     In December 2018, Lavvan and Amyris began negotiating a collaboration in

which Lavvan would pay Amyris to develop yeast strains and associated technology to be used

in large-scale fermentation to produce cannabinoids at scale. Lavvan would control the

manufacturing and commercialization process and would pay Amyris prescribed milestone

payments and royalties on Lavvan’s sales of these cannabinoids. Moreover, Lavvan would

receive an exclusive license (even as to Amyris) to Amyris’s intellectual property relating to

such development, manufacturing, and commercialization.

       48.     Critically, Lavvan’s control would enable it to decide when and how to move

from the lab phase to the large-scale commercial manufacturing phase, and when the licensed

intellectual property should be exploited commercially. The RCL Agreement sets the parameters

Amyris must achieve to reach any given milestone. Key criteria included



                                                            . Such parameters enabled Lavvan to

monitor and determine when commercial production should begin and how quickly it should

ramp up for any given cannabinoid—important decision points for aligning production with cost

and sales to ensure commercial and economic viability. That is, the decision-making rights

Lavvan negotiated and secured for itself—as well as the exclusive intellectual property licenses

that Lavvan obtained from Amyris—were designed to ensure that Lavvan would determine when

a cannabinoid molecule should be produced commercially. This was critical because a key

challenge in producing a molecule like a cannabinoid through a biosynthetic process is doing so




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reliably cheaper than what the product could sell for in the marketplace, while having sales

contracts in place to justify initiating commercial production. Lavvan’s rights ensured that it

could wait until development had reached the point at which the cannabinoid could be sold on

the market for prices that exceeded the cost of production and that there was sufficient demand in

place to justify large-scale fermentation. Lavvan also had the right to select its manufacturing

facilities and to control scaling.

        49.     Lavvan’s rights to control manufacturing and commercialization were all the

more important because Amyris was in a precarious financial position at that time. Amyris had

lost over $200 million in 2018, and had actually resorted to borrowing about $1.2 million from

its CFO Kathleen Valiasek around the time the Parties signed the RCL Agreement. This

precarious financial position could affect Amyris’s business judgment about when and how to

manufacture and commercialize the cannabinoids in development. That is, as the recipient of

large milestone payments under the RCL Agreement, Amyris had incentives to prematurely rush

cannabinoids into commercialization. Lavvan’s concerns in this regard have proven well-

founded: Amyris has put heavy pressure on Lavvan to prematurely commercialize cannabinoids

on an uneconomic basis.

        50.     Lavvan’s rights to control manufacturing and commercialization were therefore

central to the terms of the collaboration, and the Parties discussed those rights at length in the

negotiations leading up to the execution of the RCL Agreement.

        51.     In its deals with other parties, Amyris’s role typically included acting as the

manufacturer. That was decidedly not the role Amyris would play in its collaborative venture

with Lavvan. Ultimately, as discussed further below, Amyris reneged on its arrangement with

Lavvan and its clear contractual commitment to impart to Lavvan control over manufacturing.




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       52.     Following the execution of a term sheet in January 2019, Amyris immediately

wanted to issue a press release touting the deal. As Lavvan came to learn, Amyris’s insistence on

pushing forward with press releases was reflective of its overall business model. Amyris and its

CEO were “addicted” (their own word) to using the press to create interest in its stock to drive its

stock price upward—allowing Amyris’s perceived public-relations benefits to drive its business

decisions. As Lavvan came to learn, Amyris measured success by stock-price reactions and

market interest in its stock rather than the fundamental business metrics on which successful and

profitable companies focus.

       53.     Consistent with that approach, and despite the many open issues, Amyris pushed

forward with its press release, announcing on February 5, 2019, that it was “pleased to have been

recognized by a well-capitalized partner as the company best suited to leverage fermentation-

based technology in the production of the best quality and lowest cost and sustainably-produced

cannabinoids.” Amyris further stated in the press release that it stood to receive up to $255

million in payments from its role in “development and scaling of technology to produce CBD,”

in the form of “an upfront payment” and further payouts “linked to milestones that are expected

over the next 12-36 months.”

       54.     Amyris achieved its desired result: In the single trading day following this press

release, Amyris’s stock price increased 74% from a closing price of $3.16 on February 4 to a

closing price of $5.47 on February 5, well above its past-30-day peak of $4.22.

       55.     Negotiation of the agreement continued on a quick pace because Amyris was

eager to sign the deal by March 2019 and make a splashy announcement before the end of its

fiscal quarter at the end of that month. Indeed, Amyris treated the end of the quarter as a deadline

for finalizing the agreement—Amyris CEO John Melo and CFO Kathleen Valiasek told Lavvan




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that, ‘if it’s not done by then, we’ll just do it ourselves.’ Amyris apparently knew that it needed

something to distract the markets from what would be another abysmal quarter and year—

Amyris’s results would again be, in Amyris CEO Melo’s words, “below expectations.”

       56.     Consistent with this need, Amyris publicly announced the execution of the RCL

Agreement both through a press release and on a public conference call on March 18, 2019—

before the Parties finalized the deal and signed the RCL Agreement the following day, and on

the same day that Amyris announced its disappointing financial results. While Amyris was

expressing time pressure to close the deal and agree to terms in the first quarter of 2019, it would

claim to regret and wish to recant those agreed-upon terms only months later.

   C. Research, Collaboration and License Agreement

       57.     On March 19, 2019, Amyris and Lavvan executed the RCL Agreement. The

contract obligated Amyris to develop yeast strains specifically engineered to produce a series of

cannabinoids for Lavvan to manufacture and commercialize, and it obligated Lavvan to make

milestone payments as Amyris achieved specified development goals. More specifically,

Amyris’s core “deliverable” for each cannabinoid is a strain of yeast that is sufficiently good at

producing the target cannabinoid, together with a production process and related know-how

needed to deploy the strain for commercial production. This includes, for example, the process

for extracting the target compound from the liquid fermentation broth.

       58.     The RCL Agreement and its annexes provided technical details about these goals,

with the milestones divided into two main categories, lab-based milestones and large-scale

commercial milestones. “                         ,”

                                                  ,”



                                                                                         .


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       60.    And under the proposed project plan timeline to which the Parties agreed,



                                                                                          :




       61.    The RCL Agreement also assigns detailed rights and obligations among the

Parties. Among others, the RCL Agreement provides Lavvan with two critical rights.




                                                             .

       62.




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                                            The exclusive nature of this license is highlighted by

the structure of the SPE—




                                                            The narrowness of these exceptions

underscores the broad exclusivity the parties agreed to in favor of Lavvan.

       63.




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       64.       Throughout negotiations, the Parties understood that the starting point of the RCL

Agreement would be complete exclusivity for Lavvan for all licensed intellectual property for

any uses related to cannabinoids. Just days before signing the RCL Agreement, however, Amyris

told Lavvan that Amyris realized it had to limit the field in which Lavvan could commercialize

cannabinoids because it had a longstanding, existing collaboration with




                                              .

       65.       To accommodate this contractual restriction on Amyris’s ability to license its IP

to Lavvan, the Parties carved out a limited exception




             In requesting and explaining its need for a                        carve-out to avoid

any breach of its obligations to            , Amyris CFO Kathleen Valiasek confirmed in writing

that “Amyris does not have rights to this field either.” This understanding is confirmed by the




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RCL Agreement, which states that “



                                                                  ”

       66.       The Parties discussed and understood that the                            carve-out

does not limit Lavvan’s ability to use licensed IP to market cannabinoid ingredients to

manufacturers of                         or to manufacturers who also use

as ingredients; rather,

                                         . Other than ensuring that Amyris did not upset its existing

obligations to            , this was not a material restriction on Lavvan, as cannabinoids are

known not to have any                       .

       67.       During negotiations, Amyris sought carveouts that would allow it to manufacture

and market cannabinoids for                                   , and to customers in the

       . For example, Amyris proposed to define a separate “                   ” and exclude

           from the                .

       68.       Lavvan wanted to ensure that its rights were not limited and that Amyris would

not be permitted to manufacture or market cannabinoids or compete against Lavvan in any way.

Lavvan therefore rejected these proposals, and in the end, Amyris did not receive these broad

carveouts from Lavvan’s exclusive licenses.

       69.       Instead, to address Amyris’s requests relating to the                    without

interfering with the Parties’ clear agreement that manufacturing and commercialization were

reserved for Lavvan alone, the Parties agreed




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                                         .

       70.    Consistent with that arrangement, the RCL Agreement expressly anticipates that

Lavvan may market ingredients to                        , providing that if




                                                            .

       71.    To address Amyris’s requests regarding                    , the RCL Agreement




                                                                               . Critically,

however, to ensure that Amyris remained focused on first developing cannabinoids for Lavvan

under the RCL Agreement,



                          .

       72.    The RCL Agreement otherwise grants Lavvan an exclusive IP license and

generally prohibits Amyris from commercializing cannabinoids without Lavvan. During the term

of the RCL Agreement, “




                                                                      . Similarly, under




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73.        The only other (inapplicable) exception to this general prohibition




                           .

74.        Lavvan has several key rights in the event of Amyris’s material breach.




75.        In the RCL Agreement, Amyris also agreed to provide Lavvan a lien on

      :“




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       76.     The RCL Agreement also provides that the Parties are not permitted to disclose




   D. Lavvan’s Upfront $10 Million Payment

       77.     Amyris’s announcement of its collaboration with Lavvan and its association with

the suddenly booming cannabis market brought instant financial benefits to Amyris. This was

especially critical for Amyris, which had long been financially precarious. Amyris itself stated in

its annual report for 2018: “We have incurred significant operating losses since our inception,

and we expect to continue to incur losses and negative cash flows from operations for at least the

next 12 months . . . .” 2018 Form 10-K. As of December 31, 2018, Amyris had “negative

working capital of $119.5 million and an accumulated deficit of $1.5 billion.” Id.

       78.     On March 18, 2019, Amyris issued a press release announcing it had “signed a

final definitive agreement for cannabinoid development” with Lavvan. As described above,

Amyris’s announcement blatantly misrepresented the status of the RCL Agreement because in

reality, at the time of the announcement, there were still material open items under discussion

and neither Amyris nor Lavvan had executed the RCL Agreement.

       79.     The press release explained that the agreement contained “$300 million of R&D

and milestone payments plus long-term royalties,” and that “Amyris believes it can earn a

significant portion of these milestone payments by the end of 2020, with $20-30 million

anticipated in 2019, including a $10 million milestone payment that is expected to be recognized

later this month.” This first $10 million “milestone” payment was the same “upfront payment”




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Amyris referenced in its previous press release and would not reflect payment for any new

development work under the RCL Agreement.

       80.     In addition to its representations about the payments Amyris would receive, the

March 18, 2019, press release also explained the division of labor between Amyris and Lavvan.

It explained that Amyris would be responsible for “all R&D work” and that “Lavvan will be

responsible for the global manufacture and commercialization of the cannabinoids.” On

Amyris’s earnings call later that day, Amyris CEO Melo also confirmed that the collaboration’s

“overall structure is for exclusivity”—as reflected in the terms and structure of the agreement

and the intellectual property licenses provided to Lavvan.

       81.     Amyris had a strategic reason to rush the premature announcement of its deal with

Lavvan: March 18, 2019, was also the day Amyris announced its disappointing preliminary Q4

and year-end performance after trading hours. Amyris’s revenue for the year was roughly half of

what analysts expected ($80 million instead of $160 million), and its earnings per share were

also far lower than expected (a loss of $3.52 per share instead of the anticipated loss of $2.46 per

share). As Amyris CEO Melo admitted on the call, “Our financial results were far below our

expectations.” Moreover, Amyris announced (with no warning to Lavvan) that it would, again,

not be filing its 10-K on time. Nonetheless, buoyed by the announcement of its collaboration

with Lavvan, Amyris’s stock price stayed afloat in the days that followed in the face of what

otherwise were clearly devastatingly disappointing financial results, opening the following day at

$3.95, up 3% from its closing price on March 18, 2020, of $3.81.

       82.     On March 29, 2019, Amyris issued its next press release regarding the

collaboration, touting that “it has successfully delivered on its first milestone for its cannabinoid




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partner,” thereby “earning” its “first payment of $10 million, which is part of a $300 million

collaboration before future royalty payments.”

       83.     The RCL Agreement imposed certain conditions on Lavvan’s obligation to pay

the $10 million upfront payment. For example, Lavvan was not required to make any payment

until Amyris had



       84.     But Amyris demanded its first $10 million “milestone” payment in April 2019

even though it recognized it had not fully satisfied the RCL Agreement’s                condition.

When Lavvan’s then-CEO and current President Etan Bendheim asked Amyris CEO Melo in

mid-April 2019 about the status of the                , Melo offered no informative response,

choosing only to berate him, stating, “Who are you?! You have no credibility with me or the

board!” Amyris CFO Kathleen Valiasek paired Amyris’s demand for payment with a threat to

stop the collaboration before it even started: Valiasek threatened that Amyris would sue Lavvan

or ‘rip up’ the RCL Agreement if Lavvan did not make the premature payment.

       85.     Despite Amyris’s confrontational posture, and despite the fact that Amyris was

not yet technically entitled to any payment under the RCL Agreement, Lavvan ultimately agreed

to make a $10 million payment to Amyris in light of Amyris’s threats and in the interest of

maintaining the relationship.

       86.     True to its dependence on self-promotion, on May 20, 2019, Amyris issued a

press release announcing that it received its “first cash payment of $10 million” from “its

cannabinoid partner, Lavvan,” for “having successfully delivered on its first major collaboration

milestone as announced on March 29, 2019.”




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    E. Lavvan Builds Its Expert Team, Further Enhancing the Value of What Amyris Was
       Receiving Under the RCL Agreement

       87.     On August 8, 2019, Lavvan announced that it had successfully executed its plans

to bring over a seasoned team of world-class professionals with extensive experience in the

cannabis space. Neil Closner, who had experience at several successful startups and was the co-

founder and former CEO of MedReleaf, would join as Lavvan’s CEO. Joining Closner at Lavvan

were seven other former senior executives from MedReleaf, who, together, were responsible for

MedReleaf’s groundbreaking achievements and success, and were each highly sought-after in the

cannabis industry. Founded in 2013, MedReleaf grew to be Canada’s most awarded licensed

producer of cannabis and was widely recognized for its scientific leadership, product innovation,

and operational excellence. MedReleaf was the first ISO 9001 and Good Manufacturing

Practices (GMP) certified producer of cannabis in North America.6 After completing the

industry’s largest initial public offering in June 2017, MedReleaf was acquired for $2.5 billion in

July 2018.

       88.     The MedReleaf team brought substantial expertise and tremendous credibility

born from a highly successful company. MedReleaf had developed an extensive and detailed

data collection and analytics program, and used data to develop insights for inventory

management, new product development, and pricing. MedReleaf consistently maintained a

significant share of the Canadian medical cannabis market.

       89.     The individuals that came over with Closner were also highly successful. An

award-winning scientist, quality and supply chain experts, and successful entrepreneurs all came




6
 ISO 9001 is an internationally recognized certification recognizing quality and environmental
management systems as well as occupational health and safety management systems.

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to Lavvan. And of course, the original Lavvan founding team included executives with deep

experience in the pharmaceutical and financial industries.

       90.        The announcement of Closner and his team joining Lavvan conferred even more

legitimacy on Lavvan and in turn benefitted Amyris in numerous ways. Most immediately,

Amyris’s stock jumped another 26% on the announcement. Amyris sought further market

benefits from Lavvan’s credibility during earnings calls, explaining, for example, that “[t]he

Lavvan executive team is very experienced in delivering excellent insight and guidance,” and has

“a track record of leading the industry.” Amyris further benefitted from Lavvan’s strategic vision

in the ensuing months. Especially after Closner and his team joined, Lavvan contributed market,

scientific, industry, and regulatory knowledge of this new cannabinoid field—knowledge that

Amyris completely lacked.

       91.        For example, Lavvan’s new team members, using their extensive familiarity with

the research and developments regarding cannabis, (i) shared genetic information about the

compliment and activity of cannabinoid genes in the cannabis sativa plant; (ii) provided a list of

cannabis varieties and non-cannabis species that can also produce cannabinoids; and

(iii) illustrated the relationship between pH sensitivities and the tendency of CBDa to make small

amounts of THCa, and the challenges that would pose to Amyris’s yeast strains. On the

production side, Lavvan shared detailed specifications for a cannabinoid isolate (i.e., the pure

version of the molecule), as would be required for large consumer packaged-goods companies,

based on Lavvan’s extensive experience with the cannabis market. Even in spaces where Amyris

had some expertise, such as topical cosmetics, Lavvan shared insights from its team’s prior

experiences with cannabinoids in topical products, including knowledge about how patients were

using topicals.




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       92.     Further, Lavvan recognized a strong potential market for CBG—a molecule that

was not even originally identified as a possible cannabinoid for commercialization in the first

place—and prioritized its development and commercialization early in the process. CBG is a

naturally occurring cannabinoid in hemp plants and a precursor to CBD—a molecule that was on

the RCL Agreement’s immediate developmental road map. Once Lavvan identified that CBG

could be a commercial product in its own right, the Parties put a focus on collaboratively

developing that product, and Lavvan, in agreement with Amyris, set new commercialization

targets for CBG.

       93.     In the months that followed after Lavvan expanded its team, Melo repeatedly

touted Lavvan’s expertise during earnings calls. He explained that Lavvan had “significantly

expanded [its] capability with the hiring of an experienced team for the cannabinoid markets.”

As a result of these hires, “the nature of conversation and the depth of discussion and knowledge

has changed dramatically.” Melo referenced “the value in great partners is they typically have

insights on molecules more than we do” and admitted his “surprise[]” when Lavvan “identified a

molecule. . . that we quickly were able to make, and that molecule is significantly more valuable

than CBDA.” This was a reference to the decision to commercialize CBG as described above.

   F. Amyris Reveals That it Has “Seller’s Remorse” and Transforms from Willing
      Partner to Combatant

       94.     On August 6, 2019, shortly before Lavvan announced Closner’s appointment as

its CEO, Closner traveled to New York, New York, for what would turn out to be an eye-

opening in-person meeting with Amyris CEO Melo.

       95.     At the meeting, Melo told Closner he wanted to lay his “cards on the table.” He

told Closner that Amyris actually hated the deal it had agreed to with Lavvan and that Amyris

was intent on frustrating the deal as much as possible unless and until Amyris succeeded in



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changing the deal’s terms. Melo explained that the Parties may have entered into a written deal,

but Amyris understood that it could thwart that deal or force Lavvan to change the agreement

simply by failing to cooperate. Melo stated that he did not understand why Lavvan should have

control of manufacturing or commercialization, given that, in its other deals, Amyris controlled

that process. Then, for the first time, Melo told Closner that Amyris had, or was in the process of

obtaining, a suitable manufacturing facility in Oregon.

       96.     These shocking admissions and threats struck at the heart of Lavvan’s business

plan. Given Melo’s expressed disdain for the RCL Agreement, Closner asked Melo why Amyris

agreed to sign it just five months earlier. Melo explained that he needed to be “careful” about

what he said “because this may end up putting me on the witness stand.” Even so, Melo

proceeded to admit that Amyris was facing serious difficulties when it signed the RCL

Agreement, and now had a case of “seller’s remorse.” Melo likened Amyris’s decision to enter

the RCL Agreement to ‘cutting off the arm to save the body.’ Closner told Melo it sounded like

Amyris was refusing to perform unless the RCL Agreement changed. Melo did not disagree with

that characterization.

       97.     At the same August 6 meeting, after acknowledging that Lavvan had satisfied all

financial obligations to date, Melo commented obliquely that Amyris had concerns about

Lavvan’s ability to make milestone payments when they came due. Melo started to lay the

groundwork for a pretextual concern that Amyris had supposed doubts about Lavvan’s ability to

perform its payment obligations.

       98.     Only a few weeks later, Melo again reiterated Amyris’s ‘seller’s remorse’ and

rejection of the fundamental nature of the RCL Agreement. On August 19, 2019, Amyris CFO

Kathleen Valiasek reached out to Lavvan CEO Closner, seeking a quote from him for a draft




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press release touting that Amyris had “demonstrated a process to deliver the highest purity and

quality CBD at the lowest cost it has seen reported.” This being the first that Closner had heard

of this supposed success, and with no data or documentation to support the claim, Closner did

not support the press release. After congratulating Amyris on the achievement, Closner explained

that Lavvan was not “comfortable having this news come out at this point and in this way,” but

mentioned the Parties could discuss Amyris’s progress “in more detail at next week’s meeting”

and also “discuss[] the public communication around it.” Even one year later, Amyris still has

not provided any data that could support such a claim.

       99.     Melo and Valiasek did not take Closner’s polite rejection well. Melo responded

“this is a great example of what needs to change” and that Amyris “will not continue this

program with this relationship structure. . . .We have no example where we are subservient to

the other party – we are truly partners in every sense from the development to the

commercialization.” (emphasis added).

   G. Amyris Materially Misstates Its Progress under the RCL Agreement and
      Misleads the Market

       100.    Amyris’s public comments about Lavvan, however, told a very different story and

provide no support for its pretextual concerns about Lavvan’s ability to pay. For example, on

August 5, 2019—one day before Melo raised the company’s putative concerns privately with

Closner—Melo touted Lavvan, and also told investors during Amyris’s earnings call that Amyris

would receive $25 million from Lavvan in 2019, and $50 million from Lavvan in 2020, adding

that he had a “high level of confidence in the $50 million,” with “potential to get up to double

that.” He explained the entire $300 million might be collectible within three years, but the

“majority” would be earned “over the next 18 months.”




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       101.    Melo made similar statements to investors on an October 2, 2019, earnings call.

After once again praising Lavvan’s expertise, Melo stated that Amyris had “successfully

produced” a CBD molecule and an undisclosed second cannabinoid molecule. He stated that

Amyris’s pursuit of two molecules made Amyris “more optimistic about the milestone

payments” of “$300 million total for the 3-year project.” He projected “$50 million on the low

end, $100 million on the high end for the cannabinoids milestone payments for next year,” and

stated, “we feel very secure about the low end, and I think we could be somewhere between the

low and the high.” Melo further stated, “Both molecules, we’ll be doing commercial production

in 2020. And for one of them, we could be as early and plan on being as early as mid-year.” Of

course, the timing for commercialization was Lavvan’s decision, not Amyris’s.

       102.    On November 7, 2019, during another earnings call, Melo continued to promise

major revenue to investors from Amyris’s collaboration with Lavvan. Melo stated that Amyris’s

payments from Lavvan would be “between $20 million to $25 million this year,” and “$70

million to $75 million next year.”

       103.    Melo’s representations to investors did not reflect reality—because by the fall of

2019, it was clear that Amyris would not reach any milestones that year and therefore would not

be entitled to any further payments beyond the $10 million upfront payment it received in May.

Further, based on the RCL Agreement, the only way for Amyris to even theoretically earn more

than $15 million in payments would be if they hit a commercial scale milestone—but the Parties

had not even selected a               by that point, and there would be no way to do so and

commercialize the necessary volume required to achieve any additional milestone before year’s

end. Indeed, before hitting a commercial milestone, Amyris would need to

                                                  (they had not and still have not),




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                                                         (they had not and still have not), and

then Lavvan would have



      ” Each of those steps would take at least a few months by themselves. Melo thus knew or

should have known that his statements to investors were false and misleading.

       104.    Lavvan does not owe Amyris any payments, nor has Lavvan ever been deficient

or late on a payment to Amyris. In fact, more than nine months after Melo promised investors

tens of millions in future milestone payments, Amyris still has not achieved a single

developmental milestone and therefore has not earned a single additional milestone payment.

   H. Based on Lavvan’s Trade Secrets, the Parties Agree to Commercialize CBG
      Simultaneously

       105.    As the partner in the collaboration with both the experience in the cannabis and

cannabinoid field and the responsibility for commercialization, Lavvan developed, and shared,

several trade secrets with Amyris under the confidentiality provisions of the RCL Agreement.

       106.    Lavvan regularly shared key market information about various cannabinoid

opportunities, including cannabinoid-by-cannabinoid commercialization and regulatory analyses.

These analyses included, for example, consideration of country-specific compliance

requirements for cannabinoids and whether the cannabinoid had been approved for certain uses,

or for import or export. As part of this work, Lavvan also collected, reviewed, and synthesized

various public studies and regulatory findings. Lavvan maintained and regularly updated this

specialized knowledge of market opportunities and regulatory requirements for various

cannabinoids. This information was especially valuable to identifying go-to-market opportunities

in the nascent biosynthetic cannabinoid space.




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       107.    These trade secrets are not generally known, and are the result of proprietary

market research and analysis in a new market. Lavvan had to expend effort to identify the

relevant information needed and then collect that information, using its own expertise and

knowledge. The biosynthetic cannabinoid space is a cutting-edge field with a limited number of

companies all attempting to move forward and commercialize biosynthetic cannabinoids. Using

this information, competitors could identify the best products and best markets to target for

commercialization.

       108.    Under the RCL Agreement, the Parties were targeting CBD as the first

cannabinoid. By leveraging its market and regulatory trade secret knowledge, Lavvan identified

that CBG had an easier runway to market than other ‘minor’ cannabinoids, and shared this

information with Amyris with the understanding that Amyris would use that information to

prepare strains for Lavvan to manufacture and commercialize in accordance with the RCL

Agreement. With this deep knowledge of cannabinoids and the market as described above,

Lavvan understood that CBG would be a building-block molecule that Amyris would necessarily

have to develop in some capacity anyway and that there was the potential for there to be a

significant and profitable commercial market for that cannabinoid as well.

       109.    In September 2019, Lavvan’s team explained their vision to Amyris and, in their

December 2019 Joint Steering Committee, the Parties agreed to develop CBG and CBD

simultaneously. Lavvan repeatedly requested—and received—confirmation that due to the

similarity of the process, it would not cause any delay in Amyris’s production of CBD. Because

CBG would have been developed by Amyris as part of the CBD development process, Lavvan

agreed to move forward with CBG, with the Parties classifying it as          under the RCL




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Agreement, which provided an appropriate project plan and milestone payments upon

commercializing CBG.

   I. Amyris Misrepresents Its Role, Rights, and Progress Under the RCL Agreement

       110.    Amyris CEO Melo not only misrepresented Amyris’s financial prospects during

his November 7, 2019, earnings call with investors, but also made numerous statements

demonstrating that Amyris did not intend to perform in good faith under the RCL Agreement.

       111.    Melo stated that Amyris had “certain carve-outs in the agreement with Lavvan for

Amyris to serve                                   on our own with cannabinoid ingredients.”

These were material misrepresentations of Amyris’s rights under the RCL Agreement. Amyris

had no such rights to                      , as explained above, and only conditional limited

rights to develop cannabinoids for use “



                          ”



                                   . After Melo’s misrepresentations about the Parties’

respective intellectual property rights, Lavvan received blowback from its investors about

Amyris’s supposed carveouts.

       112.    Worse, during the same call, Melo shockingly revealed that Amyris was

“providing samples” to Lavvan and “to some of Lavvan’s customers.” Melo’s statement that

Amyris had provided samples to Lavvan was plainly false. The other component of Melo’s

statement, that Amyris had provided samples to some of Lavvan’s customers, was a blatant

admission of a material violation of Lavvan’s intellectual property rights. Lavvan had an

exclusive license—including as to Amyris—over “                                      ” to

commercialize cannabinoids.


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                                                                           . But Melo admitted

that Amyris did just that.

       113.    Melo further stated on the November 7, 2019, earnings call that Amyris continued

to view “the cannabinoids opportunity” as one of its “most valuable businesses,” and claimed

that Amyris would be “the first synthetic biology company to successfully commercial-scale

multiple lower-cost highly pure cannabinoids.” This statement was badly misleading. Lavvan,

not Amyris, controls manufacturing and commercialization under the RCL Agreement. Amyris’s

role is limited to developing the yeast strains and related technology that produce cannabinoids

for Lavvan. Under the RCL Agreement, Amyris is responsible for research and development—

and Lavvan controls, and has exclusive rights to use licensed intellectual property for,

manufacturing and commercialization of cannabinoids. Melo nevertheless stated to investors that

Amyris intended to manufacture and commercialize cannabinoids itself.

       114.    As another example of Amyris’s disregard for Lavvan’s intellectual property

rights, in Amyris’s Credit and Security Agreement, dated November 14, 2020 and publicly filed

on November 20, 2019, Amyris misrepresented Lavvan’s lien on Amyris’s IP. The filing

explained that Amyris had received yet another loan to stay afloat, and included a copy of the

loan agreement, which inaccurately described Lavvan’s lien as covering only “the Intellectual

Property of the Company being licensed to Lavvan pursuant to the” RCL Agreement. In reality,

Lavvan’s lien was much broader,

                  In effect, the lien covers

                                                                         . Even though Lavvan

notified Amyris of this misstatement by letter in April 2020, Amyris did not correct its




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misrepresentation of the lien while completing its private placement in June 2020 and repeated

the same misstatement in their 10-K filed on August 10, 2020.

       115.    In addition to misleading its own investors, Amyris’s inaccurate messaging about

its role (including its intellectual property rights) in its partnership with Lavvan confused the

investors Lavvan was working with for the company’s next round of funding. Amyris’s conduct

actively undermined Lavvan by publicly misrepresenting the RCL Agreement and by suggesting

that Amyris, rather than Lavvan, would be the first to commercialize certain cannabinoids.

Amyris’s subversive efforts reflected in these misstatements also severely damaged the working

relationship of the team members at Lavvan and Amyris who were working on this project, as

Amyris staff were constantly working at cross-purposes or refusing to share critical information

with Lavvan.

       116.    During a meeting on December 11, 2019, Lavvan CEO Closner told Amyris CEO

Melo that he needed to stop misrepresenting the terms and progress of the RCL Agreement to the

public. Amyris CEO Melo responded that his propensity to over-promise was “like an addiction”

and “something he could not control.”

       117.    In light of Melo’s admitted “addiction” that was causing harm to Lavvan and the

Parties’ venture, Lavvan was forced to attempt to place constraints on Melo. As described further

below, in an effort to curb Amyris’s public misstatements (and an acknowledgement of same),

Amyris CEO Melo agreed to amend the RCL Agreement to




                . Unfortunately, as also explained below, Melo has not honored these terms, and

has selectively disclosed information at Lavvan’s expense.




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   J. Amyris Creates a Scramble to Hit Its Year-End Numbers

         118.    In the fall of 2019, recognizing that it had not achieved the progress it needed to

achieve to trigger any milestone payments, Amyris began demanding that Lavvan accelerate

milestone payments without regard for Amyris’s progress. For example, on October 24, 2019,

Amyris sent a proposal for “restructured milestones,” seeking to accelerate $55 million worth of

payments including by creating new interim milestones not agreed to in the RCL Agreement,

such as producing a “100g sample” of THC.

         119.    Contrary to what it was telling its investors, Amyris quickly fell off the

development pace contemplated in the RCL Agreement. In developing each yeast strain,

Amyris’s major efforts centered around engineering a yeast strain and downstream processing

solution to produce high yields of the targeted cannabinoid, which met the associated economic

parameters, while achieving a level of purity that met the product specifications. By December

2019, Amyris’s efforts with respect to CBD and CBG (             ) had experienced significant and

worrisome delays. For example, as explained earlier, Amyris had to demonstrate that it met a

target

                , but was nowhere near that goal.

         120.    Recognizing the impact that its lack of progress would have on its end-of-year

earnings, Amyris initiated a series of frantic requests to amend the RCL Agreement to accelerate

the timing and recognition of existing milestone payments. After telling Lavvan that it did not

like the RCL Agreement, after having fallen off the development pace, and after publicly

admitting to past conduct that breached the RCL Agreement and to the intent to engage in

conduct that would further breach the agreement, Amyris now wanted to collect unearned

milestone payments anyway—or at least be able to report additional revenue.




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        121.     Amyris again proposed changing the RCL Agreement to include additional

payments from Lavvan, including on December 2, 2019, when Amyris, claiming to need

“support” for a “faster time to market,” proposed (i) an additional $10 million for “regulatory

materials for topical applications for CBD” and (ii) changing Milestone Number 2 to $20 million



               . Overall, Amyris’s latest proposal to change the RCL Agreement contained about

$60 million in new or accelerated payments, without regard for the progress of the project to date

or commercial viability. Lavvan did not agree to accelerate or change the milestone payment

structure.

        122.     On December 11, 2019, Amyris CEO Melo and Lavvan CEO Closner met in

Amyris’s offices in California. Melo told Closner that he needed to be able to send Lavvan

invoices showing 2019 dates for work that would not be completed until 2020. He explained that

Amyris was banking on $70 million more from Lavvan before the end of 2020. He promised that

Amyris would hit milestones in early 2020, stating that unless the Amyris lab “burned down,”

Amyris would achieve the CBD milestone by the end of February. (This milestone still has not

been met some 6 months later.)

        123.     Lavvan had no obligation to amend the RCL Agreement to suit Amyris’s public

relations desires, and no obligation to allow Amyris to invoice Lavvan in 2019 for milestones

Amyris had not achieved. Further, Amyris refrained from sharing data on its strains and

development with the frequency and specificity necessary for Lavvan to understand Amyris’s

progress. In short, even though Amyris refused to share the raw data to support its supposed

progress, it sought Lavvan’s approval to invoice for alleged progress which proved not to have

been achieved.




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       124.    Amyris intensified the pressure on Lavvan to produce an amendment when

Amyris COO Eduardo Alvarez told Lavvan President Etan Bendheim that completing the

amendment was “more important” than the Parties’ work toward commercial production of

cannabinoids, and impliedly threatened to give Amyris’s operating team “instructions”—slowing

or stopping the development team’s progress—based on the status of the amendment. Faced with

this extreme pressure, Lavvan reluctantly worked to accommodate Amyris’s requests in order to

maintain the relationship. To that end, Lavvan’s team scrambled over the winter holidays to draft

a proposed amendment to the RCL Agreement that would accommodate Amyris’s stated

invoicing needs but that was acceptable to Lavvan from accounting, legal, and business

standpoints.

       125.    Around the same time, Amyris forced its employees to work through the winter

holidays to deliver CBG samples to Lavvan. Lavvan had not requested the samples (as at this

point Amyris had not yet shown that the samples would meet the required product specifications)

or provided any instructions for such a delivery, but learned that Amyris’s employees incorrectly

were led to believe that Lavvan had imposed the deadline that required them to work through the

winter holidays—further eroding the teams’ working relationship.

       126.    Evidently hoping to end the fiscal year with a positive public message, Amyris

issued a press release on December 27, 2019, stating that it had “successfully shipped the first

cannabinoid to its partner, Lavvan.” But Amyris’s samples were unusable and certainly not what

was called for under the project plan. As the samples called for under the RCL Agreement were

for                               , at that time the RCL Agreement stated that they needed a

minimum product purity of over      %, and practically closer to   % to move toward

commercialization. But the shipped sample had only about                and included




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              that rendered it unsuitable for any external use. On information and belief, Amyris

forced its employees to work over the winter holiday period not to provide Lavvan with useful

material or information about Amyris’s progress, but instead to support its strategy to recognize

future revenue from the RCL Agreement in 2019 (and to push out a promotional press release).

       127.    Amyris ultimately rejected Lavvan’s proposed amendments which would have

facilitated Amyris’s requested objectives. Instead, as Amyris CEO Melo explained in a March

2020 phone conversation with Lavvan CEO Closner, Amyris had realized that accounting rules

allowed it to book sufficient revenue ahead of time even without the amendment. Ultimately, in

its much-delayed financial reporting for Q4 2019, Amyris recognized $18.3 million in

cumulative revenue under the RCL Agreement even though it had earned only $10 million in

payments. Amyris accomplished this by using accounting rules that allow it (subjectively) to

book a percentage of completion of the milestones.

       128.    During the same period, Amyris sought once again to add or adjust milestones so

it could receive more milestone payments sooner. On February 20, 2020, Lavvan rejected those

proposals, noting that Lavvan had previously been willing to amend the agreement based on

Amyris’s past requests, but that Amyris had rejected those proposals and was content to proceed

under the original agreement. Also noting that work was behind schedule and that Amyris was

not entitled to any additional milestone payments at that time, Lavvan declined to accelerate

payments but offered to “mitigate Amyris’s concerns around output volumes” and adjust certain

commercial manufacturing milestones, provided Amyris got its projects back on track.

       129.    Lavvan’s offer was particularly accommodating given that Amyris was six

months behind on CBD objectives and that Lavvan had been provided limited data from Amyris

about the CBD strains it was developing. Amyris was also behind on eliminating THC from the




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CBD strain as                                       . Amyris’s delays in providing product

samples were creating issues with Lavvan’s progress toward drafting regulatory filings and

providing customer samples. Moreover, after Lavvan plugged the costs provided by its

manufacturer, the Selected Manufacturer, into the limited data Amyris provided, Lavvan realized

that the costs far exceeded the cost per kilogram that Amyris needed to hit under the milestone.

   K. February 23 and March 1, 2020, Calls Between Closner and Melo

       130.     On February 23, 2020, two days before an Amyris board of directors meeting,

Amyris CEO Melo and Lavvan CEO Closner spoke by phone, in a conversation that is

emblematic of Amyris’s lack of good-faith performance of the RCL Agreement and disregard of

Lavvan’s intellectual property rights.

       131.     While admitting that he “was not close enough to know exactly why,” Melo

asserted that Lavvan owed Amyris milestone payments. Closner assured Melo that no milestone

payments were due and encouraged Melo to facilitate the necessary conversations with his staff

to understand why Amyris felt that it deserved payments for milestones it had not yet achieved.

Closner also explained, “when the milestone gets hit, nothing would make us happier than

having to pay it.”

       132.     More concerningly, Melo indicated that the Amyris board—to which Melo would

be reporting in two days—was looking for a way out of its deal with Lavvan. Melo rehashed the

pretextual excuse he had previewed in his initial meeting with Closner, claiming that the board

did not believe Lavvan would be able to pay the milestone amounts when they came due and was

looking for “options.”

       133.     Worse, Melo stated that one of those “options” was for Amyris to commercialize

cannabinoids without Lavvan, in direct violation of the most basic tenets of the RCL Agreement.

Melo claimed that there was an unintended but “specific carve-out” that allowed Amyris to


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commercialize and exclude Lavvan in a “quite critical and significant” market. Moreover, Melo

asserted that this mysterious and unidentified loophole was not intended by the Parties, but he

was willing to exploit it anyway.

       134.    But Melo refused to tell Closner what provision of the contract contained this

supposed “carve-out” or loophole. Instead, Melo simply claimed that Amyris “completely” had

the right to manufacture cannabinoids on its own, without Lavvan. Melo threatened that unless

Lavvan would agree to whatever new terms Amyris demanded, Amyris would commercialize

cannabinoids on its own and leave Lavvan behind. In other words, unless Lavvan acceded to

Amyris’s demands, Amyris would take Lavvan’s intellectual property and use it for Amyris’s

own purposes and at Lavvan’s expense.

       135.    The RCL Agreement, of course, contains no such “loophole.” Melo’s threatened

course of action would constitute a material breach of

                                                                 . Indeed, the supposed loophole

would undermine the entire point of the RCL Agreement.




       136.    Likewise, by developing, manufacturing, and commercializing cannabinoids

without Lavvan, Amyris would necessarily use the intellectual property it exclusively licensed to

Lavvan, and would infringe Lavvan’s rights to that intellectual property.

       137.    Melo further informed Closner for the first time of Amyris’s specific, imminent

plans to misappropriate Lavvan’s intellectual property: Amyris was hosting a large cosmetics

event in Barcelona for 200 of the world’s largest brands, at which Amyris intended to make




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public Lavvan’s CBG data (which Melo incorrectly characterized as “Amyris’s” data), and Melo

said his plan to do so would “absolutely change the industry.”

       138.    Remarkably, Melo criticized Closner for standing on Lavvan’s rights and

Amyris’s obligations under the RCL Agreement. Melo stated: “Not one partner has ever stood

with us and said, We’re only going to do what the contract says.” He added, “if that ever

happened, we would be out of business today.”

       139.    Approximately one week after their February 23 phone call, Amyris CEO Melo

spoke on the phone with Lavvan CEO Closner to provide an update after Amyris’s board

meeting. Melo stated that the “biggest sensitivity” for Amyris’s board, finance team, and auditors

was Lavvan’s “ability to pay.” Melo also raised some ambiguous and vague “critical parts that

need to be landed between the teams” regarding the collaboration. Closner suggested that Amyris

identify specific areas of concern, which Lavvan could then address.

       140.    As noted above, Melo also explained to Closner why Amyris had not followed

through on its requested amendment to permit Amyris to invoice for milestone payments it had

not yet achieved: After a lot of internal “back-and-forth,” Amyris had determined accounting

rules permitted it to recognize sufficient revenue without having invoiced or received payment

from Lavvan.

   L. Lavvan Contracts with the Selected Manufacturer for Commercialization,
      Continues Staffing Up

       141.    In March 2020, relying on what turned out to be false information about Amyris’s

progress, Lavvan made plans to move forward with production of various cannabinoids.

       142.    Lavvan had previously conducted an exhaustive search (with the help of an expert

consultant) in the United States and Canada for an appropriate facility to prepare for production

of the cannabinoids Amyris was supposed to deliver. After visiting, inspecting, and negotiating



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with various commercial manufacturers—and conferring with Amyris during the search—

Lavvan ultimately settled on the Selected Manufacturer to conduct an extensive engineering

study as a precursor for it to manufacture and commercialize the cannabinoids. The Selected

Manufacturer was the best choice with much lower costs than the alternatives.

       143.    During the search for a commercial manufacturer, Lavvan also shared with

Amyris trade secret information about the selection process and criteria for the eventual

commercial manufacturer of the yeast strains Amyris was developing. Lavvan shared with

Amyris presentations and analyses detailing the strengths and weaknesses of various

manufacturers, especially as those factors impacted the manufacturer’s ability to produce

materials that meet regulatory requirements. In one presentation, for example, Lavvan flagged

methods through which a particular manufacturer could control allergens.

       144.    Then, after Lavvan selected the Selected Manufacturer as the commercial

manufacturer to conduct an engineering study to position Lavvan to proceed with

commercialization, Amyris again participated in several meetings where Lavvan shared

proprietary market and regulatory information about what it would need from the Selected

Manufacturer’s manufacturing process for the cannabinoid opportunities.

       145.    Lavvan developed its trade secrets about these manufacturers and relevant factors

concerning the selection of a manufacturer with the assistance of a consultant, and also by

leveraging information it learned from prospective customers (such as the Fortune 500

companies) about how they selected suppliers and vetted supply chains. That is, these factors

represent not only information about each manufacturer, but about the factors that make a

manufacturer a good partner for the specific cannabinoid opportunities that Lavvan identified.




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       146.     Like Lavvan’s market research and collected regulatory information, these trade

secrets are not generally known, and are the result of Lavvan expending its time, effort, and

funds to determine the best strategies, methods, and plans for commercializing biosynthetic

cannabinoids.

       147.     Since signing the RCL Agreement, Lavvan had staffed up considerably in

anticipation of its obligations and future business. As noted, Lavvan successfully recruited

Closner and seven other former MedReleaf executives to join Lavvan a few months after signing

the RCL Agreement. In addition, in 2019, Lavvan hired three additional senior executives (one

again from MedReleaf), based on the anticipated timeline for commercialization. And in

December 2019, based on Amyris’s assurances that milestones would be met by February 2020,

Lavvan identified five additional roles for which it was hiring, all directly related to

commercialization. These roles included, among others, scientists, quality assurance experts, and

regulatory specialists. Lavvan filled some of these positions, hiring a senior scientist and quality

assurance manager in March 2020, before Lavvan learned that Amyris was significantly further

behind than Lavvan had been led to believe. Lavvan was interviewing for this next phase of

staffing up until recent months.

   M. The Parties Amend the RCL Agreement to Deter Further Public Misstatements and
      Adjust Specifications of Cannabinoids

       148.     On March 11, 2020, the Parties executed Amendment No. 2 to the RCL

Agreement. The amendment was designed to accomplish three important things.

       149.     First, Amyris now agreed that any public statements




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       150.    Second, the Parties agreed




       151.    Third, the Parties memorialized revisions of additional product specifications.




   N. Relations Further Deteriorate as Amyris Continues to Fall Behind and Lavvan
      Refuses to Lie to Amyris’s Auditors and Bankers

       152.    Amyris has sought to enlist Lavvan’s assistance throughout 2020 to confirm

certain information about Amyris’s progress under the RCL Agreement for various internal and

external parties.

       153.    Starting in January 2020, Amyris COO Alvarez insisted that Lavvan confirm via

e-mail that Amyris was developing three molecules simultaneously—CBD, CBG, and THC—on

Lavvan’s behalf. Lavvan had proof of development for CBD and CBG, but none on THC at that

time. Amyris, however, had represented that it was pursuing approval from the Drug

Enforcement Administration (DEA) and was constructing the lab to begin production on THC,



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and thus would begin development for it shortly. Lavvan would later learn that this

representation was false and lab construction had not even begun.

       154.    In mid-February 2020, Amyris hired a new CFO. Shortly thereafter, Amyris’s

revenue-recognition strategy drew the attention of its internal and external auditors, and in March

2020, Amyris sought to enlist Lavvan to help justify Amyris’s accounting. Amyris wanted

Lavvan to validate whether Amyris had completed certain work toward milestones so that

Amyris could recognize revenue in connection with that work.

       155.    In order to book against that future revenue, however, Amyris needed Lavvan to

sign a letter about Amyris’s performance. Closner explained that Lavvan would naturally need to

review such a letter before signing. Melo explained that it was important for Amyris to be able to

book future payments from Lavvan because otherwise, Amyris would “miss street expectations

by about four to five million bucks.”

       156.    Around this time, Amyris sent Lavvan a draft letter, addressed to Amyris’s

outside auditor Macias Gini & O’Connell LLP, for Lavvan to sign. The draft was riddled with

misstatements and misrepresentations. For example, the draft stated that Amyris had “

                    to reach commercial Milestone Number 10 for                 .” But Amyris had

not (and still has not) met commercial Milestone Number 10 and was therefore not entitled to

that milestone payment. The draft also stated that “Lavvan has agreed for Amyris to commence

work on CBD,          [THC] and         [CBG].”

       157.    Rather than giving Lavvan the freedom to amend the letter to accurately reflect

the work Amyris had done to date, Melo told Lavvan to simply delete—but not provide any

comment on—any language Lavvan did not “like.”




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       158.    Meanwhile, Amyris continued to represent to the public that it was making

progress on the development of cannabinoids, with or without Lavvan. On March 6, 2020,

Amyris issued a press release stating: “Amyris is developing CBD through fermentation

technology and believes it will be the first company to provide highly pure and efficacious CBD

from this technology at commercial scale.”

       159.    In a presentation a few days later, Melo claimed that production for two

cannabinoids would begin in 2020. Melo said that Amyris intended to become the leading

supplier of cannabinoids, despite the restrictions in the RCL Agreement prohibiting this. In the

same presentation, Melo also stated that Amyris viewed “CBG as a breakthrough cannabinoid”

and was “in active clinical testing with one of the leading skin labs in the world” which it hoped

would be beneficial for “our use of CBG in skin care.” Once again, Amyris admitted to shipping

CBG to an outside party contrary to the terms of the RCL Agreement.

       160.    On the same day as the March 6 press release, Melo and Closner spoke on the

phone again. Closner told Melo that Amyris’s press release and presentation were misleading,

because Amyris was, pursuant to the RCL Agreement, developing cannabinoids on behalf of

Lavvan. Amyris’s more recent public statements not only omitted that important fact, but

affirmatively created the false impression that Amyris was permitted to commercialize

cannabinoids on its own behalf, repudiating the RCL Agreement and further eroding Lavvan’s

credibility and reputation.

       161.    Amyris’s CFO later joined that March 6 call and sought Closner’s confirmation

that Amyris was working on three molecules (including THC) and would be reaching a

milestone on March 31 (the same milestone Melo had promised would be completed by the end




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of February “unless the lab burns down”). Closner could not and did not provide the requested

confirmation—and Amyris has still not hit the milestone.

       162.    Lavvan signed a letter for Macias Gini & O’Connell LLP on the morning of

March 13. The letter indicated Lavvan’s understanding that Amyris would, before the end of the

month, provide confirmatory data indicating that it had met additional milestones. Later that day,

Amyris submitted its annual report for 2019 and hosted its investor call. For the second year in a

row, it lost over $200 million. Of its reported revenue, 12% came from Lavvan. Amyris still has

not delivered the confirmatory data it was to provide Lavvan by the end of March. The letter that

Amyris fashioned for its own auditor, and that Amyris induced Lavvan to sign by falsely

representing it would provide certain data to Lavvan, has now proven to be fraudulent.

       163.    Only a few weeks after its March 13 annual report and investor call, Amyris

asked Lavvan to participate in a different diligence process, this time with its investment

bankers. Lavvan CEO Closner received several messages from the Amyris team about the

importance of the diligence call, which was related to the $200 million private placement Amyris

would go on to complete in June.

       164.    Surprisingly, this time Amyris wanted Lavvan to confirm for the bankers the

exact opposite of what it was confirming for auditors: that Amyris was not working on THC.

Because THC remains a controlled substance subject to strict regulatory scrutiny, Amyris sought

this reassurance for regulatory and investor-relations reasons. That is, Amyris wanted to be able

to book revenue toward work on THC while telling its bankers it was not working on THC. As

Melo impliedly confirmed in future calls with Closner, it was apparent to Lavvan that Amyris

was trying to mislead the bankers about its THC work because the diligence questions that the




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bankers provided included the leading question: “Please confirm that you are only working on

CBD and CBG and not THC products.”

       165.     When Closner confronted Melo about this inconsistency during a call on April 6,

2020, and asked Melo “how do you want me to answer that, John?” Melo was silent. It became

clear to Lavvan that its refusal to go along with Amyris’s scheme only furthered Amyris’s

animosity toward Lavvan.

   O. Relations Badly Erode in Early April 2020, and Questions Arise Regarding
      Amyris’s Handling of CBG Samples

       166.     On April 3, 2020, during a presentation Amyris was giving, Lavvan learned that

Amyris had produced “                               ” of CBGa—an inactive form of CBG—in

December 2019 and January 2020. Remarkably, Amyris claims that it was able to achieve a

recovery yield of only approximately       of final CBG samples (less than     %) from the initial

              of CBGa. To date, Amyris has delivered to Lavvan only             , has stated that

it sent CBG samples to others without Lavvan’s consent, and has repeatedly refused to provide a

meaningful accounting for what happened to the rest of the product. Amyris’s apparent

dissemination of intellectual property that Lavvan paid Amyris to develop undermines the terms

and purpose of the RCL Agreement: to develop yeast strains to produce biosynthetic

cannabinoids exclusively for Lavvan to become the exclusive market leader and provider of such

cannabinoids.

       167.     On April 6, 2020, Amyris CEO Melo and Lavvan CEO Closner had a heated

exchange regarding a variety of topics and addressing the Parties’ growing tensions and

grievances. Closner called Melo to discuss Amyris’s lack of progress hitting its milestones.

Closner reminded Melo that he had, at Melo’s insistence, agreed to sign a letter for Amyris’s

auditors indicating that Amyris would provide confirmatory data demonstrating that it had met



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another milestone before the end of March. As of April 6, Amyris still had not done so—and any

data that had been shared confirmed that Amyris was not even close.

       168.    Amyris’s lack of progress was a surprise to Lavvan, which had been counting on

Amyris’s promises to meet certain milestones in order to move forward. The lack of progress

was a surprise in part because Amyris consistently withheld developmental and research

information from Lavvan, preventing Lavvan from being able to effectively comment or assist in

the design process, thus sidelining Lavvan’s tremendous experience. That is, Lavvan’s

intellectual property (such as sequence data, enzyme knowledge, cannabinoid genetic

knowledge) could not be effectively leveraged without information-sharing from Amyris. But,

with few exceptions, Amyris provided insufficient information, and strictly on a

                                       . Amyris provided this infrequent information in summary

slide format rather than as raw data that Lavvan’s highly credentialed scientists could effectively

analyze in decision making and planning, as well as to assist in development, investor relations,

or sales efforts. Incredibly, Amyris asserted that it would not provide more detailed information

because doing so would involve sharing its intellectual property with Lavvan, something that

Amyris claimed it was not required to do. Of course, this was the same intellectual property that

Amyris licensed to Lavvan under the RCL Agreement.

       169.    This lack of transparency, which Closner raised with Melo multiple times to no

avail, badly undermined the collaboration. For example, because Amyris did not timely provide

updates to Lavvan about its developments, Lavvan prematurely contracted with the Selected

Manufacturer for manufacturing even though Amyris was nowhere near the necessary

developmental milestone. Amyris, despite being part of the various meetings and conversations

with the Selected Manufacturer, never told Lavvan about Amyris’s shortcomings and that it




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would not meet the agreed-upon schedule, and impliedly confirmed that Lavvan should proceed

with production with the Selected Manufacturer.

       170.    In response to Closner’s concerns regarding Amyris’s lack of progress, Melo

revealed that Amyris planned to start manufacturing CBD at commercial scale in 2020 and

would also be scaling CBG in the second quarter of 2020, with a facility ready to develop, scale,

and manufacture. Melo told Closner that Lavvan could either “be a part of that or not—it’s your

choice.” Melo refused to disclose where this purported facility was and told Closner that if he

couldn’t figure out why Amyris was allowed to move forward without Lavvan, then Closner

should “get attorneys to find it” in the RCL Agreement.

       171.    Melo proclaimed, “we don’t need you in this deal at all” and made clear that

Amyris intended to manufacture and commercialize cannabinoids, regardless of whether Lavvan

was involved. Supporting the view that Amyris likely fermented far more than         of CBG in

December 2019 and January 2020, Melo likewise confirmed that Amyris had sent Lavvan’s CBG

sample—the one that Amyris had forced its employees to work over the holidays to produce

supposedly at Lavvan’s demand—to a number of third-party clinical labs for testing, without

Lavvan’s knowledge or consent. According to Melo, Amyris sent samples to Utah for testing

against coronavirus, and samples were also being used to determine “what the impact is on the

skin microbiome.”

       172.    When Closner expressed serious concerns over Amyris’s breaches of the Parties’

agreement and lack of transparency in the development process, Melo told Closner that Amyris’s

technical team had “no respect for your team, and they’re not going to share with your team.”

       173.    Melo went on to contend that the Parties’ arrangement was “not contract R&D,”

insisting: “We are not going to do contract R&D. We don’t do it for anyone in the world,” and




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“we’re not doing it for you guys.” Melo’s statements doubled down on the “seller’s remorse” he

had expressed when he first met with Closner and constituted a rejection of the fundamental

terms of the RCL Agreement and Lavvan’s control over the manufacturing and

commercialization process.

   P. Tensions Come to a Head at the Joint Steering Committee’s April 2020 Meeting

       174.    On April 14, 2020, Amyris and Lavvan had a Joint Steering Committee meeting

to discuss the progress of Amyris’s work. During the meeting, (1) Lavvan learned that

development on all three cannabinoids was far behind, (2) Amyris tried to pressure Lavvan to

unprofitably commercialize prematurely anyway, (3) Amyris shifted its position on where it sent

Lavvan’s CBG samples, and (4) Amyris refused to continue work on THC without different

milestone structures.

       175.    At the start of the meeting, Amyris confirmed that COVID-19 had a short-term

and minimal impact on its development efforts because Amyris was legally permitted to continue

work and was prioritizing this project and development. Indeed, Amyris continued to make

progress after COVID-19 at a faster rate than previously, though it was still woefully insufficient

under the RCL Agreement.

       176.    During the meeting, Amyris confirmed that it still had not met any further

milestones. Nevertheless, presumably eager for another press release, and certainly eager to

collect milestone payments, Amyris pushed for Lavvan to move CBG to the commercial

manufacturing phase, and CBD to the pilot plant stage, even though neither CBG nor CBD were

ready for such a step.

       177.    Here, Lavvan’s control over manufacturing was critical. Because of Amyris’s lack

of development progress, the manufacturing costs were still multiples higher than called for

under the milestone standards, and purity levels were well below standards agreed to in


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Amendment No. 2 just one month earlier. Nevertheless, Amyris insisted that the recently agreed-

upon specifications were essentially unnecessary, and that Lavvan should move forward

anyway—even though it was not economically feasible to do so. Amyris had strong incentives to

push molecules toward the manufacturing stage, and doing so would effectively push the costs of

further development onto Lavvan, given that manufacturing and commercialization were

Lavvan’s responsibility. That is a key reason Lavvan required that the Parties set specific

production-costs-per-kilogram targets, backed up with evidence that strains could meet those

targets at commercial scale: to ensure that products reaching the commercialization stage were

economically viable.

       178.    During the Joint Steering Committee meeting, Amyris COO Alvarez had

described to Lavvan how Amyris had regularly commercialized unprofitable molecules and then

explained how they hide it financially. Alvarez explained that Amyris would expect to lose

money on at least the first few production campaigns, with the hope that the manufacturing

process would help it learn how to manufacture more efficiently. Alvarez explained this is what

Amyris did for a recently introduced sugar substitute product. Of course, Amyris did not raise

this approach during contract negotiations or the discussions for what milestones were

appropriate—and it is not the approach that the Parties agreed upon in the RCL Agreement.

Amyris apparently never had to explain this to a customer or partner before, because in its other

partnerships, it had retained control over manufacturing. In contrast, under the RCL Agreement,

Lavvan controlled that process and therefore needed information about manufacturing costs.

Indeed, Lavvan learned the true costs of manufacturing as part of Lavvan’s direct involvement in




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discussions with manufacturers concerning the details of the manufacturing costs and process

and in negotiating the engineering study work with the Selected Manufacturer.7

       179.     When encouraging Lavvan to adopt Amyris’s costly “optimization on the fly”

approach, Alvarez also explained how Amyris would work to hide this unprofitable decision. He

suggested that if Lavvan began production with the Selected Manufacturer, Amyris could

temporarily shift other production to the Selected Manufacturer, to artificially decrease the cost

basis for the Selected Manufacturer’s work.

       180.     Amyris’ demands were even more troublesome, as they had not even shared with

Lavvan the end-to-end process that they proposed to implement in a commercial facility,

regardless of cost. For example, while the efficiency of the yeast strain was of course critical, so

was the process for recovering and isolating the target cannabinoids from the fermentation tanks.

Amyris had not shared with Lavvan their intended plans for this downstream processing, and

was effectively demanding that Lavvan move forward blindly. Beyond the lack of a tested

production process, and the fact that basic development was not far enough along for costs to be

sufficiently low to commercialize, a number of problems with the quality of the cannabinoids

that Amyris was producing needed to be addressed as well. For example, the cannabinoids that

Amyris was producing contained byproducts that rendered those cannabinoids, in essence,

unmarketable.




7
  Amyris’s scheme to conceal its unprofitable production “campaigns” is beginning to attract
attention. In March 2020, a watchful analyst examined Amyris’s 2019 fiscal results and
concluded that “Amyris is spending way too much on manufacturing costs.” He observed that
Amyris “hasn’t reported detailed operating results for its consumer brands” and “the more than
doubling of production costs from 2018 to 2019 suggests investors don’t have all of the context.”
In an update after Amyris announced its Q2 2020 results, the same analyst highlighted similar
concerns, including a “worrisome accumulation of deferred-cost-of-product revenue.”



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       181.    When Lavvan voiced its concerns about premature commercialization with

products well below the agreed-upon specifications, Amyris again ignored the fundamental terms

of the Lavvan-Amyris partnership and asserted that, with their other partnerships, Amyris

retained the right to make decisions or to share in control of joint decisions regarding when to

scale and go into production. Pressing further, Amyris COO Alvarez told Lavvan that Amyris

was “ready to go ourselves if you feel that you cannot do it yourself” and was “very clear about

what we can do ourselves to make sure that we move forward.” In other words, unless Lavvan

agreed to give in to Amyris’s demands over the manufacturing timing and commercialization

process, Amyris would manufacture and commercialize cannabinoids itself even though the

cannabinoids remained at entirely uneconomic levels—without Lavvan, in breach of the RCL

Agreement, and in violation of Lavvan’s intellectual property rights.

       182.    Amyris also revisited and shifted its position about Lavvan’s CBG samples that it

had sent out to various third parties. At the start of the meeting, Amyris stated that no samples

were sent out externally and Amyris only retained a small amount of CBG samples for its own

analytics. As the meeting progressed, Amyris then allowed that it was “possible” that Amyris

sent out some samples for third-party analytics. Before the meeting ended, Amyris backtracked

again and re-confirmed that no samples were sent out externally, but that Amyris might have

used some sample for its own uses beyond analytics.

       183.    And finally, with respect to THC, Amyris refused to move forward unless the

RCL Agreement was amended to provide for additional milestones. In other words, even though

Amyris had pressured Lavvan to tell Amyris’s auditors that Amyris was developing THC for

Lavvan, Amyris was refusing, just one month later, to do any of that work.




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       184.    Immediately after the meeting, Amyris COO Alvarez confirmed in an email to

Lavvan that Amyris intended to move forward with commercializing cannabinoids with or

without Lavvan: “we will continue to operate with the parameters of the RCLA when we decide

to move forward and produce ourselves, if you choose not to proceed at this time” (emphasis

added). Alvarez said he would provide Lavvan with the specific provisions of the RCL

Agreement that Amyris contended would enable it to proceed without Lavvan—but he never did.

       185.    After receiving very brief meeting minutes from Amyris, given the critical

importance of the issues and topics discussed, Lavvan circulated comprehensive revised minutes

of the meeting to Amyris. On April 21, 2020, Amyris sent Lavvan proposed revisions to those

minutes. These revisions were heavily biased in favor of Amyris and included numerous overt

and subtle shifts in positions it represented during the meeting.

       186.    For example, Amyris once again shifted its position on what happened to the

CBG samples. The original minutes (consistent with what was stated on the call) stated, “Amyris

confirmed that no other CBG was or has been made, and none was sent externally to any third

party.” Amyris revised that sentence to state: “Amyris confirmed that no other CBG was or has

been made, and none was sent externally to any customer.” That is, Amyris was now admitting,

once again, as Melo had done a few weeks prior, that Amyris had circulated samples. But rather

than provide a full accounting of what happened to the CBG samples, Amyris was simply

revising the minutes to reflect statements not made and vetted during the Joint Steering

Committee meeting. Once again, Amyris’s shifting positions on what happened to the samples

all lead to the conclusion that Amyris developed and distributed more CBG samples than

previously disclosed.




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       187.    Amyris also attempted to subtly shift its threat to walk away from the RCL

Agreement unless Lavvan provided additional milestone payments. Lavvan’s minutes reflected

Amyris’s position at the meeting that it could and would proceed without Lavvan: “Amyris

expressed that they feel that they have the ability under the Agreement to proceed with

commercialization without Lavvan’s involvement and/or without Lavvan’s consent; Lavvan

firmly asserted that the Agreement does not provide Amyris with these rights as described.”

Though Amyris’s edits confirm its position that it intended to breach the RCL Agreement and

misappropriate Lavvan’s intellectual property, it added language to try to soften its threat:

“Amyris confirmed that they prefer to work with Lavvan to manufacture and commercialize

cannabinoids in multiple markets, but also have the ability under the Agreement, to proceed with

production without LAVVAN’s involvement for certain markets; LAVVAN asserted that the

Agreement does not provide Amyris with these rights.”

       188.    Amyris also edited a clause regarding the exclusivity provisions in the agreement

with the Selected Manufacturer in a way that reflected its intent to independently develop

cannabinoids. Lavvan had written “LAVVAN has secured [the Selected Manufacturer] under a

two-way exclusivity arrangement with respect to cannabinoids, as a result, Lavvan and Amyris

should not be discussing fermentation production with any other CMOs.” Amyris, instead, edited

to say the Parties “should not be discussing fermentation production with any other CMOs for

Lavvan.”

       189.    Lavvan’s minutes also stated: “Amyris agreed to highlight the clauses in the

Agreement that Amyris is relying upon for in order to reach their conclusion.” Despite having

clearly made that commitment at the meeting, Amyris’s revisions struck the sentence.




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   Q. Lavvan Notifies Amyris That Amyris Is in Breach of the RCL Agreement

       190.    On April 22, 2020, with the unanimous approval of Lavvan’s board, Lavvan CEO

Closner sent a formal letter to Amyris General Counsel and Secretary Nicole Kelsey and Amyris

CEO Melo, as well as each member of Amyris’s Board of Directors with the subject “Amyris

Contractual Breaches.” Lavvan’s April 22 letter summarized Amyris’s “illegal, anti-competitive,

untruthful and unethical behavior” in breach of the RCL Agreement and in violation of Lavvan’s

intellectual property rights. Lavvan demanded (i) full accounting, with supporting paperwork, of

all CBG samples Amyris had produced; (ii) a description of any other uses for cannabinoids that

Amyris has provided to others; (iii) written acknowledgment that Amyris has no commercial

right to the cannabinoids or their progenies; and (iv) that third parties be prevented from

commercializing cannabinoids using the yeast strains and IP that were created for Lavvan.

       191.    Lavvan also sought to understand why Amyris believed that it could, in violation

of the RCL Agreement and Lavvan’s intellectual property rights, commercialize cannabinoids

without Lavvan. As described above, Amyris had taken that position on several occasions,

including by referencing unspecified carveouts. Yet Amyris, despite being asked numerous

times, had repeatedly refused to provide any clarification regarding its supposed right to

commercialize cannabinoids developed for Lavvan but without Lavvan.

       192.    Instead, immediately after receiving Lavvan’s April 22 letter, Amyris cancelled

all regular and previously scheduled working sessions, calls, and other collaborative endeavors

between Lavvan and Amyris. Amyris also ceased participating in meetings and discussions with

Lavvan and the Selected Manufacturer, with a few minor exceptions. Amyris effectively walked

away from the deal.

       193.    Melo’s response letter on April 24 dodged nearly every issue and demand. Rather

than substantively address Amyris’s attempt to re-write history in its revisions to the Joint


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Steering Committee minutes, Melo tried to downplay Amyris’s distortional revisions as a mere

difference in “perspective.”

        194.    Regarding Amyris’s continued delays, Amyris faulted Lavvan for “referencing a

commercially unavailable product specification” that it had agreed to in Amendment No. 2 just

one month prior. Amyris believed these specifications “represent a disconnect from current

market reality” that forced Amyris “to avail itself of other opportunities to progress its

cannabinoid science.”

        195.    Rather than addressing the RCL Agreement’s

                                              , Melo provided an incoherently mealy-mouthed and

incorrect (to the extent it is decipherable) response:

                Amyris’s right to proceed with the development of cannabinoids is
                permitted under the RCLA and the exclusions to the                 ,
                not only in accordance with that definition, but as explicitly
                excepted from the                  throughout the RCLA. Lavvan’s
                exclusive license to Amyris’s technology and relevant IP is only for
                the              . By definition, the scope of such exclusivity does
                not reach the markets excluded from such definition.

        196.    Melo’s focus on the definition of the term “               ” is a red herring: the

RCL Agreement states that “

                                                                                          . That

restriction is not limited to the “             ” Moreover, the

                                                                                       Even that

limited exception, moreover, is only temporary:



                                                         That is, once Amyris’s pre-existing

contractual restrictions with



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       197.    Melo also went on the offensive in his April 24 letter, claiming that Lavvan had

breached the RCL Agreement by failing to provide confirmation of its ability to pay for

milestone payments that Amyris has been incapable of meeting—even though no provision

requires such confirmation. Melo also complained about Amyris’s lack of a role in

manufacturing, even though Amyris has been regularly and materially involved and included in

discussions with prospective contract manufacturing organizations as well as the selection of the

Selected Manufacturer, and even though ultimate control over manufacturing rested with

Lavvan, not Amyris.

       198.    Melo said nothing about the samples Amyris provided to third parties. Nor did he

deny Amyris’s intent to move forward with commercialization without Lavvan.

       199.    Amyris’s actions only days later confirmed its intent to move forward without

Lavvan, in breach of the RCL Agreement, and in violation of Lavvan’s intellectual property

rights. On May 8, 2020, during its first-quarter earnings call, Amyris COO Alvarez confirmed

that Amyris had “secured production capacity for our first two cannabinoid products in 2020.”

Amyris had not shared this information with Lavvan.

       200.    On May 11, 2020, having received no comfort on the issues identified in his

April 22 letter, but instead receiving stark confirmation of his grounds for concern, Closner took

the difficult step of providing Amyris written notice of Lavvan’s intent to terminate the RCL

Agreement. In identifying Amyris’s material breaches, Closner again highlighted that Amyris

had (i) provided sample product to third parties; (ii) expressed intent to commercialize without

Lavvan; (iii) made inaccurate public statements




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                          ; and (iv) demanded uncalled-for milestone payments. Closner also

invoked Lavvan’s rights to recover for Amyris’s public misrepresentation on May 8, 2020,

regarding Amyris’s intent to secure production.

       201.    Over a month later, on June 17, 2020, Melo responded. Telling Closner that

“Lavvan should take Amyris at its word” that no breach had occurred, he continued to refuse to

respond to Lavvan’s April 22 demands. Rather than providing a full accounting backed by

paperwork, Melo provided a new explanation for the genesis of the sample sent to Lavvan

without any attempt to reconcile his past statements that Amyris sent samples to third parties.

Melo also did not even attempt to reconcile his plan to have Amyris commercialize cannabinoids

on its own with the RCL Agreement’s prohibition against such conduct or with Lavvan’s

exclusive licenses to Amyris’s IP.

   R. At All Times, Lavvan Took Reasonable Efforts to Protect Its Trade Secrets

       202.    Lavvan took security very seriously. As a new venture, Lavvan understood that its

intellectual property in this cutting-edge space was one of its largest assets.

       203.    Lavvan implemented enhanced security measures to access its system, including

requiring computers to be encrypted.

       204.    Lavvan also segregated sensitive files, including high-level business documents

and research and development, from employees’ general access.

       205.    All Lavvan employees, consultants, and contractors, and anyone else who

accessed Lavvan’s intellectual property, were required to sign non-disclosure agreements.

   S. Amyris Confirms It Is Commercializing Cannabinoids Without Lavvan,
      Violating Lavvan’s Trade Secrets and Patents

       206.    On August 6, 2020, Amyris announced its Q2 2020 financial results and held an

earnings call. During the call, Amyris COO Alvarez confirmed that Amyris was beginning



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fermentation of a cannabinoid within two weeks and would deliver cannabinoids “at scale” in the

second half of 2020. Amyris CEO Melo similarly described production as occurring “within the

next couple of weeks.” In direct response to a question about whether this would be done for

Lavvan, Melo stated that Amyris was developing these cannabinoids in the “market area

excluded” from the RCL Agreement.

       207.    Based on the representation that Amyris would be “the largest producer of that

particular cannabinoid in the” United States, and based on Amyris’s September 1, 2020, press

release (described below), Amyris was referring to CBG. The fact that Amyris’s announcement

centered around CBG shows how it relied on Lavvan’s expertise to target a relatively unknown

cannabinoid that Lavvan identified as having potentially significant commercial value.

       208.    Amyris’s statements are troubling, not only because Amyris confirms that it will

be violating Lavvan’s patents and misusing its trade secrets and resources to secure a wrongful

first-to-market position, but also because it appears Amyris is withholding information about its

progress in the development of cannabinoids that are core to the Parties’ partnership. Amyris has

not shared with Lavvan a completed production process and related IP needed for

commercialization, but Amyris has now told the market that it has completed development and is

imminently moving forward for its own benefit. Specifically, Amyris had represented to Lavvan

that Amyris had stopped pursuing CBG development simultaneously with CBD, and that

significant unknowns remained around the final product processing steps. Amyris further

represented that it stopped working on CBG because Lavvan wouldn’t acquiesce to Amyris’s

demands for additional, uncalled-for payments that had previously been demanded.

       209.    Indeed, in a press release issued on September 1, 2020, Amyris reiterated its plan.

It stated that “it has successfully scaled up the commercial production of Cannabigerol (CBG)




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leveraging its industrial fermentation process capability,” and that it “expects to deliver about

one ton of high purity CBG through fermentation as an alternative to the traditional production

method of extraction from the Cannabis sativa L. plant.” Amyris further explained that the

“[f]irst commercial revenue from the sale of this molecule is anticipated this year as an

ingredient in applications that are excluded from Amyris’s current collaboration agreements.”

       210.    But any such revenue cannot be for an “application that [is] excluded” from

Amyris’s agreement with Lavvan. Indeed, the “                  ”—the area over which Lavvan has

an exclusive license under the RCL Agreement—includes “                                             ,”

and, as explained above, Amyris has no right to operate in the                 (which is, in any

event, extremely narrow). Moreover, the RCL Agreement expressly prohibits Amyris from using

the intellectual property licensed to Lavvan for

          Lavvan has not consented to such use.

       211.    In other words, in its press release, Amyris confirmed that it was pursuing

production of CBG, a commercial opportunity identified by Lavvan, without Lavvan, and that it

would be using intellectual property licensed to Lavvan to further that goal. Moreover, Amyris

highlighted CBG’s tremendous commercial potential: “CBG is a non-psychoactive cannabinoid

and presents significant therapeutic potential, making it a subject of great interest for researchers

and consumers alike.”

       212.    Naturally, Amyris did not credit Lavvan with identifying CBG’s commercial

potential, nor did it disclose that, by producing CBG without Lavvan, it would be violating

Lavvan’s intellectual property rights. To add insult to injury, Amyris stated, “CBG is the

precursor from which all other cannabinoids are synthesized and is often referred to as the ‘stem




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cell’ of cannabinoids.” This was the precise terminology Lavvan CEO Closner used in

describing CBG to Amyris.

       213.     Thus, after accepting millions in payments from Lavvan, taking Lavvan’s ideas,

and using intellectual property exclusively licensed to Lavvan for its own benefit, Amyris has

explained to the public markets—using language taken directly out of the mouth of Lavvan’s

CEO—that Amyris will be commercializing CBG without Lavvan.

       214.     Predictably, the markets reacted positively to Amyris’s news. By the end of the

day, Amyris’s stock had increased 4% from the previous day’s closing price. This increase

occurred on the first day after Amyris’s private placement from June 2020 on which Amyris was

permitted to, in its own words, “issue, enter into any agreement to issue or announce the issuance

or proposed issuance of any shares of Common Stock or securities convertible into or exercisable

or exchangeable for Common Stock.”

   T. Amyris Also Misused the Trade Secrets It Exclusively Licensed to Lavvan

       215.     As described above in Section V.C, Lavvan secured from Amyris and the SPE an

exclusive license to the relevant IP, including trade secrets, for the development of cannabinoids.

As the exclusive licensee, Lavvan must take steps to protect these trade secrets.

       216.     On information and belief, Amyris has created the following new trade secrets, or

modified and extended existing trade secrets, for the purposes of developing and

commercializing cannabinoids:

           a.



                                              .

           b.




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 c.




                                                                 .

 d.




                                                           .

 e.




 f.




 g.




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            h.




            i.



        217.     On information and belief, Amyris has also developed additional trade secrets for

producing cannabinoids, and those trade secrets are exclusively licensed to Lavvan under the

RCL Agreement. Discovery is required to identify these trade secrets Amyris developed for

cannabinoids as a result of Lavvan’s investment.

        218.     These trade secrets are not generally known and have independent economic

value. They are the result of Amyris’s research and iterative manufacturing process, and all

permit the production of better and more cost-effective yeast strains that produce cannabinoids.

Amyris has identified these processes as trade secrets and has represented that it protects them as

trade secrets.

        219.     On information and belief, Amyris is necessarily misappropriating these trade

secrets in its attempts to commercialize cannabinoids consistent with their August and September

2020 announcements that they were proceeding with commercialization without Lavvan.

        220.     In addition to the protections described above for its own trade secrets, Lavvan

abided by

                       .

VI. DAMAGES

        221.     Amyris’s conduct has caused Lavvan substantial damages. The specific quantum

of damages will be proven at trial, but Lavvan is entitled to no less than $881 million, which




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represents the sum of a discounted cash flow of Lavvan’s expected future profits as described

below (but excluding milestone payments owed to Amyris). This figure is especially

conservative because it does not include Amyris’s obligations under federal law to pay double

and/or treble damages for willfully violating Lavvan’s intellectual property rights.

       222.    Lost Profits. In the absence of Amyris’s misconduct, Lavvan would have been

among the first (if not the first) to market in commercializing and selling biosynthetic

cannabinoids in various fields. This would have resulted in significant revenue, including in the

near term, as Amyris itself publicly touted multiple times. For example, during its November 7,

2019, earnings call, Amyris CEO John Melo publicly projected that Amyris would earn

$70 million in milestone payments in 2020, corresponding to the anticipated successful

commercialization of at least one cannabinoid in a volume greater than 100,000 liters during

2020. As Amyris is aware due to its involvement in the negotiations, Lavvan had negotiated and

was set to utilize two fermentation tanks (60 cubic meters each) at the Selected Manufacturer to

commercialize cannabinoids based on Amyris’s stated progress. One year’s worth of CBG in

those two tanks would have produced 11,950 kg of pure CBG. At a market price of $5,400 per

kilogram, that would have resulted in $64.5 million in revenue. And one year’s worth of CBD

production in those two tanks would have produced 17,190 kg of pure CBD. Even at a lower

market price of $1,000 per kilogram, Lavvan still would have earned $17.2 million in revenue.

And these projected CBD and CBG revenue figures are from just those first two fermenters

alone. The Selected Manufacturer was selected, in part, because of its ability to scale quickly

with additional tanks in significantly larger sizes.

       223.    Amyris, of course, is also aware of this opportunity, which is why it has shunned

the Parties’ Agreement and its milestone payments in favor of capturing the full revenue upside




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described above that rightfully belongs to Lavvan. As described previously, during its August 6,

2020, earnings call and September 1, 2020, press release, Amyris publicly represented that it is

beginning to manufacture and commercialize one cannabinoid.

       224.    Moreover, Lavvan’s projections from January 2020 confirm that Lavvan expected

to reap significant profits from commercialization pursuant to the RCL Agreement. Lavvan

projected that it would net (after operating expenses, capital expenditures, royalty payments,

milestone payments, and other costs) $43.5 million in 2021, $146.6 million in 2022, $206.1

million in 2023, and $451.9 million in 2024.

       225.    Disgorgement. Amyris is commercializing cannabinoids and has promised to

scale them in the near future. All revenue that Amyris receives from such efforts should be

disgorged to Lavvan. Additionally, Amyris should also disgorge the benefits to its business

obtained as a consequence of its partnership with Lavvan, including as a result of Lavvan’s

industry knowledge and insights that Lavvan shared with Amyris under the RCL Agreement.

       226.    Reasonable Royalty. In no event should Lavvan’s damages be less than a

reasonable royalty of the fair market value of a license that Amyris would have purchased from

Lavvan.

VII. CAUSES OF ACTION

                 COUNT ONE – TRADE SECRET MISAPPROPRIATION
                    UNDER THE DEFEND TRADE SECRETS ACT

       227.    Lavvan incorporates the allegations above and further alleges as follows:

       228.    Lavvan is the owner or licensee of valuable trade secrets related to products and

services used in, or intended for use in, interstate or foreign commerce. Such trade secrets

comprise Lavvan’s financial, business, scientific, technical, economic and engineering

information, including but not limited to, compilations, program devices, formulas, designs,



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prototypes, methods, techniques, processes, procedures, programs and codes, both tangible and

intangible and stored, compiled and memorialized physically, electronically, and graphically.

The trade secrets also include those developed or improved by Amyris for the production of

cannabinoid-producing yeast strains as part of the collaboration and licensed to Lavvan.

       229.    Lavvan has taken reasonable measures to keep such information secret.

       230.    Lavvan’s trade secrets derive independent economic value, actual or potential,

from not being generally known to, and not being readily ascertainable through proper means by,

another person who can obtain economic value from the disclosure or use of the information.

Amyris’s trade secrets which are licensed to Lavvan similarly derive independent economic

value for the same reason.

       231.    Amyris disclosed and/or used Lavvan’s trade secrets without Lavvan’s express or

implied consent. Amyris used improper means to acquire knowledge of the trade secrets by

failing to abide by the RCL Agreement’s confidentiality and other provisions. Amyris also used

the trade secrets licensed to Lavvan without Lavvan’s express or implied consent.

       232.    Amyris knew or had reason to know at the time of disclosure or use that its

knowledge of the trade secrets was derived from or through Lavvan and that Amyris used

improper means to acquire the trade secrets. Amyris acquired the trade secrets under

circumstances giving rise to a duty to maintain the secrecy of the trade secrets or limit the use of

the trade secrets. Amyris owed a duty to Lavvan to maintain the secrecy of its trade secrets or

limit use thereof.

       233.    Amyris’s improper means in disclosing Lavvan’s trade secrets include Amyris’s

misrepresentations and breach of a duty to maintain secrecy of the trade secrets.




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       234.    Amyris, with intent to convert trade secrets that are related to a product or service

used or intended for use in interstate or foreign commerce to the economic benefit of Lavvan,

and intended or knowing that the offense will injure Lavvan, knowingly did the following:

       a.      stole, or without authorization, removed, concealed, or by fraud, artifice, or

               deception obtained such information;

       b.      without authorization copied, duplicated, sketched, photographed, downloaded,

               uploaded, altered, destroyed, photocopied, replicated, transmitted, delivered, sent,

               mailed, communicated, or conveyed such information;

       c.      received or possessed such information, knowing the same to have been stolen or

               appropriated, obtained, or converted without authorization;

       d.      attempted to commit any offense described in paragraphs (a) through (c); or

       e.      conspired with one or more other persons to commit any offense described in

               paragraphs (a) through (c), and one or more of such persons performed an act to

               effect the object of the conspiracy.

       235.    Amyris continues to misappropriate Lavvan’s proprietary information through its

commercialization efforts. As a result of such misappropriation, Lavvan has suffered damages in

an amount to be determined at trial.

              COUNT TWO – PATENT INFRINGEMENT (35 U.S.C. § 271(a))

       236.    Lavvan incorporates the allegations above and further alleges as follows:

       237.    Amyris and Lavvan signed and executed the Research, Collaboration and License

Agreement dated March 18, 2019. Amyris and Lavvan entered Amendment No. 1 thereto as of

May 20, 2019 and Amendment No. 2 thereto as of March 11, 2020.

       238.    Pursuant to




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         239.




         240.   The “               ” and “         ” licensed to Lavvan includes a number of

valid and enforceable patents (the “Patents”), including (but not limited to) the following:

             a. Patents relating to Biochemical Pathways and that are Owned by Amyris (the

                “Pathway Patents”):

                     i. Patent No. 8,415,136, issued April 9, 2013. This patent concerns the

                        formation of Acetyl-CoA, which is a necessary step for the production of

                        cannabinoids from yeast strains. In particular, this patent concerns a

                        genetically modified yeast cell capable of producing an isoprenoid,

                        including acetoacetyl-CoA, and method for using the yeast cell to produce

                        an isoprenoid.8

                    ii. Patent No. 8,603,800, issued December 10, 2013. This patent concerns the

                        formation of Acetyl-CoA, which is a necessary step for the production of

                        cannabinoids from yeast strains. In particular, this patent concerns a

                        genetically modified yeast cell capable of producing an isoprenoid,

                        including acetoacetyl-CoA, and method for using the yeast cell to produce

                        an isoprenoid.



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    Cannabinoids are isoprenoids.


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      iii. Patent No. 8,859,261, issued October 10, 2014. This patent concerns the

           formation of Acetyl-CoA, which is a necessary step for the production of

           cannabinoids from yeast strains. In particular, this patent concerns a

           genetically modified yeast cell capable of producing an isoprenoid,

           including acetoacetyl-CoA, and method for using the yeast cell to produce

           an isoprenoid.

       iv. Patent No. 9,914,941, issued March 13, 2018. This patent concerns the

           formation of Acetyl-CoA, which is a necessary step for the production of

           cannabinoids from yeast strains. In particular, this patent concerns a

           genetically modified yeast cell capable of producing an isoprenoid,

           including acetoacetyl-CoA, and method for using the yeast cell to produce

           an isoprenoid.

       v. Patent No. 9,410,214, issued August 9, 2016. This patent concerns the

           formation of Acetyl-CoA, which is a necessary step for the production of

           cannabinoids from yeast strains. In particular, this patent concerns a

           genetically modified yeast cell capable of producing an isoprenoid,

           including acetoacetyl-CoA, and method for using the yeast cell to produce

           an isoprenoid. This patent further includes a method for increasing the

           production of acetyl-CoA or an acetyl-CoA derived compound in a yeast

           cell.

       vi. Patent No. 7,172,886, which was issued February 6, 2007. This patent

           concerns the formation of isopentenyl pyrophosphate, which is a necessary

           step for the production of cannabinoids from yeast strains. In particular,




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           this patent concerns a method for producing an isoprenoid, and a method

           for making isopentenyl pyrophosphate as used in the production of

           isoprenoids.

      vii. Patent No. 7,667,017, which was issued February 23, 2010. This patent

           concerns the formation of isopentenyl pyrophosphate, which is a necessary

           step for the production of cannabinoids from yeast strains. In particular,

           this patent concerns nucleic acid sequences for enzymes in the pathway

           for forming, inter alia, isopentenyl pyrophosphate.

      viii. Patent No. 7,622,282, which was issued November 24, 2014. This patent

           concerns the formation of isopentenyl pyrophosphate, which is a necessary

           step for the production of cannabinoids from yeast strains. In particular,

           this patent concerns a method for forming, inter alia, isopentenyl

           pyrophosphate.

       ix. Patent No. 7,736,882, which was issued June 15, 2010. This patent

           concerns the formation of isopentenyl pyrophosphate, which is a necessary

           step for the production of cannabinoids from yeast strains. In particular,

           this patent concerns a host cell transformed to produce, inter alia,

           isopentenyl pyrophosphate.

 b. Patents relating to Biochemical Pathways and in which Amyris has an Ownership

    Interest (the “Additional Pathway Patents”):

        i. Patent No. 7,915,026, which was issued March 29, 2011. This patent

           concerns the formation of isopentenyl pyrophosphate, which is a necessary

           step for the production of cannabinoids from yeast strains. In particular,




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           this patent concerns a host cell transformed to produce, inter alia,

           isopentenyl pyrophosphate.

       ii. Patent No. 8,288,147, which was issued October 16, 2012. This patent

           concerns the formation of isopentenyl pyrophosphate, which is a necessary

           step for the production of cannabinoids from yeast strains. In particular,

           this patent concerns a host cell transformed to produce, inter alia,

           isopentenyl pyrophosphate.

      iii. Patent No. 7,183,089, which was issued February 27, 2007. This patent

           concerns the formation of isopentenyl pyrophosphate, which is a necessary

           step for the production of cannabinoids from yeast strains. In particular,

           this patent concerns a method for forming, inter alia, isopentenyl

           pyrophosphate.

       iv. Patent No. 7,670,825, which was issued March 2, 2010. This patent

           concerns the formation of isopentenyl pyrophosphate, which is a necessary

           step for the production of cannabinoids from yeast strains. In particular,

           this patent concerns a host cell transformed to produce, inter alia,

           isopentenyl pyrophosphate.

       v. Patent No. 7,129,392, which was issued on October 31, 2006. This patent

           concerns the formation of isopentenyl pyrophosphate, which is a necessary

           step for the production of cannabinoids from yeast strains. In particular,

           this patent concerns a method for producing genetically transformed cells,

           which can be used to produce isoprenoids, including isopentenyl

           diphosphate and dimethylallyl diphosphate.




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                   vi. Patent No. 8,999,682, which was issued on April 7, 2015. This patent

                       concerns the formation of isopentenyl pyrophosphate, which is a necessary

                       step for the production of cannabinoids from yeast strains. In particular,

                       this patent concerns a genetically transformed cell capable of increased

                       isoprenoid production.

             c. Patents relating to Fermentation and that are Owned by Amyris (the

                “Fermentation Patents”):

                    i. Patent No. 7,659,097, which was issued February 9, 2010. This patent

                       concerns the production of isoprenoids through fermentation.

                    ii. Patent No. 9,200,296, which was issued December 1, 2015. This patent

                       concerns the production of isoprenoids through fermentation.

                   iii. Patent No. 10,106,822, which was issued October 23, 2018. This patent

                       concerns the production of isoprenoids through fermentation.

                   iv. Patent No. 9,765,363, which was issued September 19, 2017. This patent

                       concerns the production of isoprenoids through fermentation.

                    v. Patent No. 9,670,518, which was issued June 6, 2017. This patent

                       concerns the production of isoprenoids through fermentation.

       241.     Pursuant to federal patent law, “whoever without authority makes, uses, offers to

sell, or sells any patented invention, within the United States or imports into the United States

any patented invention during the term of the patent therefor, infringes the patent.” 35 U.S.C.

§ 271(a).




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       242.     Amyris has violated this provision with respect to the Patents. Indeed,

notwithstanding Lavvan’s exclusive license to the Patents (even as to Amyris), Amyris has used

the Patents to develop, manufacture, and commercialize cannabinoids in the                 .

       243.     Amyris has refused to provide Lavvan with adequate information concerning

which patented technology it uses to develop and manufacture cannabinoids, even though

Lavvan requested such information no later than December 2019, and even though such

technology was licensed exclusively to Lavvan. Nevertheless, based on the information that

Lavvan has obtained regarding Amyris’s patents and based on Lavvan’s knowledge regarding

the process by which cannabinoids are developed and manufactured, Amyris necessarily uses,

and therefore infringes, some or all of the Patents in the course of developing and manufacturing

cannabinoids.

       244.     More specifically, Amyris has infringed the Patents, in violation of 35 U.S.C.

§ 271(a), in at least the following ways:

           a. Developing Cannabinoids. As explained above, Amyris is developing

                cannabinoids to commercialize on its own behalf. To produce cannabinoids, it is

                necessary to first produce a number of other molecules, including Acetyl-CoA,

                and isoprenoid precursors, including isopentenyl pyrophosphate and geranyl

                pyrophosphate. The Pathway Patents and Additional Pathway Patents include

                claims covering the production of such molecules and precursors and, thus, may

                be used to produce cannabinoids. On information and belief, Amyris is currently

                using, or will imminently use, some or all of the Pathway Patents and Additional

                Pathway Patents to develop and produce cannabinoids from yeast strains. Indeed,

                in its September 1, 2020 press release, Amyris COO Alvarez confirmed that




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               Amyris had developed cannabinoids by using its “biotechnology platform” to

               “engineer yeast.”

           b. Producing Cannabinoids Through Fermentation. As explained above, Amyris is

               developing cannabinoids to commercialize on its own behalf and has begun or

               soon will begin manufacturing those cannabinoids at scale. Amyris has stated that

               it will use a fermentation process to produce those cannabinoids. The

               Fermentation Patents include claims covering the production of isoprenoids,

               including cannabinoids, through fermentation. Thus, in producing cannabinoids

               through fermentation, on information and belief, Amyris is currently using, or will

               imminently use, some or all of the Fermentation Patents.

       245.    Amyris’s infringement was, and is, willful. As the owner of the Patents, Amyris

necessarily knew of their existence, and knew that it was infringing those Patents—which were

exclusively licensed to Lavvan (even as to Amyris)—by developing, manufacturing, and

commercializing cannabinoids.

       246.    Lavvan has standing to sue for patent infringement under federal patent law,

because it is an exclusive licensee and the Pathway Patents and Fermentation Patents at issue are

owned by Amyris. Providing Lavvan standing to sue in its own name is thus necessary to prevent

an absolute failure of justice. With respect to the Additional Pathway Patents, Lavvan intends to

rely on discovery to establish that Amyris’s interests in those patents enabled Amyris to provide

Lavvan with an exclusive license.

       247.    As a result of Amyris’s infringement of the Patents, Lavvan has suffered damages

in an amount to be determined at trial. Because Amyris’s infringement of the Patents is and was

willful, Lavvan is entitled to enhanced damages pursuant to 35 U.S.C. § 284. Likewise, Amyris’s




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egregious misconduct, as described above, renders this case “exceptional” for purposes of 35

U.S.C. § 285. Consequently, Lavvan is entitled to “reasonable attorney fees.”

       248.    Amyris’s infringement can irreparably harm Lavvan, such that monetary damages

alone are inadequate to redress such harm. Such irreparable harm includes loss of goodwill, harm

to Lavvan’s reputation, and loss of business opportunities, including the loss of an opportunity to

be first to market. Accordingly, Lavvan is entitled to injunctive relief pursuant to 35 U.S.C. §

283.




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                                  PRAYER FOR RELIEF

      WHEREFORE, Lavvan respectfully prays for relief as follows:

             a. A judgment that Amyris misappropriated Lavvan’s trade secrets as alleged
                herein.

             b. A judgment that Amyris infringed Lavvan’s patents as alleged herein.

             c. Damages, including treble damages, assessed against Amyris pursuant to the
                Defend Trade Secrets Act of 2016, 18 U.S.C. § 1831 eq seq.

             d. Damages assessed against Amyris for misappropriating trade secrets,
                including compensatory damages, unjust enrichment, or restitution damages
                and reasonable royalty damages.

             e. Imposition of a constructive trust for the benefit of Lavvan as a vehicle for
                disgorgement of all monies, profits and gains Amyris have obtained or will
                unjustly obtain in the future at the expense of Lavvan.

             f. A grant of a permanent injunction to eliminate the unfair advantage Amyris
                gained by using Lavvan’s trade secrets and other intellectual property.

             g. Punitive damages for Amyris’s willful and wanton misappropriation and the
                tortious conduct described above.

             h. Exemplary damages pursuant to the Defend Trade Secrets Act for Amyris’s
                willful and malicious conduct.

             i. Enhanced damages for Amyris’s willful patent infringement pursuant to 35
                U.S.C. § 284.

             j. Expenses, costs, and attorneys’ fees.

             k. Such other and further relief as the Court deems just and proper.



                                 JURY TRIAL DEMAND

      Lavvan demands a trial by jury for all claims.



Dated: September 9, 2020


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